  •                   STATE OF NORTH CAROLINA
                      CABARRUSCOUNTY

                      STATE OF NORTH CAROLINA
                                                                                                 :U~ lllE COURT OF GE.~'EBAL JUSTICE
                                                                                                 .SUP,ERIOR COURT DIVISION



                                                                                                                                  CASE NOS:
                                                                                                                                   'J   ··::-




                                           v.
                                                                                                            v<     ~   v, .....
                                                                                                                                  76 CR$708 ~ 7() CR 5709


                      RONNIE WALLACE LONG,

                                           Defendant..


                      *"***************·****'**!Jf***'"'******""**-•**'"*****•*************'******************
                                                              MOTidNFORAPPROPRIATE RELIEF
                                                            N.C. Qen,,Sta,t~ § 15.1\.. 1415~) (3)~ . (8) & (e)
                      ****'**'~~**"'*****'********************'****"***************************************

                      NOW CO:MES the defendant, Roru~~ 'Nallace Lpng. and moves the CQurt for appropriate relief



  •                   pu~W:mtto:



                      1.     N.C. Gen~ Stat. § lSA-l4lS (b) (3). on the grounds that Ronme WaUaee :LOng's
                      conviction was obtained in violation of the ,Constitution of the. United States; and the
                                                                                                          to
                      Con,stitution of N~IJ Caronna il;l that 1h~ ,Sutttf(alled. disclnse excutpatt)ry material tc. tbe
                      defense in violation ofdefendant's :right to a fair trial under the dueP,rocess clause·oftheFifth
                      ~dFouJ:teen~hAmen<Jments oftne Umted States Constitution and Article I, Section 19 of the
                      North Carolhta Constitution; and

                      2.     N~c. Gen.. Stat•. § l5A..l4.1S (~) on the.groWid that new mdence is available whim was
                      uulu:nlwn. or UJl•vaU,bl~ to the defe~~allt; aj;. ~e time o.f trbil, 'f~b could ~ot with (Jue
                      diligence have been discovered at that time an4 which has a direct and material bearing upon
                      defend~t,s guilt or inn.ocel}ce;'a.nd


                      3..   N..C. G~n. s~t.at. §.lSA""14lS (b) {S):, on tb~ ~ound that Mr.. Lung's .Judgmen.ts a:n:d
                      Commitment$ lh:tntld be c9:rre¢t;~ an~:a~ended>to $pecilleally~tate fh:lt 1\ft<~ Long, shalt"be
                      imprisoned tor a. term ofSOyean·intheSta:te'-sprisoo" in·accontaru::ewith,N~C.Gen5 Stat.§
                      14-2 which was in effect .-t th.e time tbat be was; $.tnteaeed mO~tob:er of 1976; and




   •                                                                                         1



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4.    N~C.. Ge~+ Stat. §l5A-14l5 (b) (7) & (b) (8), Qn the· ground th~t thesentel:lteJmposed.
upon Mr. Long i.sinvaliclas a matt~r of law due to significant changes in North Carolina's
sentencing law.


                                      PROCEDURALffiSTORY

        On October 1,. 1976, Ronnie Wallace Long ("Mt. Long''.) was convicted in Cabarrus County

Superior Court, the Honorable William .Z. Wood preSiding, ofone count of first-degree rape and orte

courit of first;.degree burglary. He was   ~ntenced     to two concllitent life sentences. Mr. Long's

appea.l (State v. Long. Z93 N,C. 286; 237 S~K2d 728 (1977)) and his 1987 $te petitioRfor post--

conviction reliefon the ground$ ofineffective assistance ofcounsel and racialdjscri.rnl.patioP. in the

selection of the jury was d.en:ied.

        On May 2S. 2005, tb.e H()norable ErMn Spainhour granted M;r. Long'sJvfoti()n to Locate and

Pres,erve Evidence {the "Pres~~on Order'~. Ex. A). As part of that ()rder, the Cabarrus County

District Attorney's Office (the ~DistrictAttoroey'.s Office1'), the Concord dity Police Department

(the ~concord Polic<: Depamne.nt'~}and tbe N. c~ State Bureau of investigation (the>~SBI'") were

ordered, inter alia, to;

        L       Submitfor inspection '~e·records of their e\iidence custodians relating to any and all
        evidence collected in [Sta.te \t. Long];n and
        2.      "Provide de;.fense cotmse1· with copies>of a1Vtest res-ult!) or reports prep:ared in
        connection with this· matter.''


        On June 16, 2QOS, ~;{James· rcconve,ned before the Gl)urt for law enfotc;etllent to teport

to the Court on their efforts to ]oca.te evidence .and to be heard. on Mr~ Lon~· s Motion for DNA

testing (the "DNA Motion")~ In the JJNA moijo.nt Mr. Longreque~ among other things, that the




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---+----------~-------------:-----·                                         ··-·---·---··-·-.. . . . . . . . . . . . . ..




 ••   toboggan which was introduced again.stbirti athistrhdl and whi:ch contains ha:irtha.tcan be seen by

      the naked eye and is reddish in colc:l~\ be submitted for DNA testing.

             At the June 1-6th hearing~ pursuantto tl:le Preservation Order~ the Sin reported tha.t·''the only

      evid~ce_foundbytbeSBithatpe;rtains-tothese.mfittersisa:latentshoeprlntthatwasusedtolinkthe

      defendant to these crimes." .-(Ex. B 15.) Oider ofthe Hon. Erni.n Spainhour dated June 17;2005$the

      ''DNA Order~). Further, the Concord Police Department reported that the only item found mtheir

      possessionrelating to this case vtas the master case fuel consisting entirely ofpaper workand. a spiral

      notebook listing various items ofevidet:lee that were ''n,otspecific to this case.' (Ex. B, 6.) The       1




      District Attorney told the Court tP.at she had :~viewed 'the police department file and there was

      nothing in it ofevidentiru:y value. Bvetl:thougb the COurt denied the DNA Motion, findmgtb.at·any

      testing done on the ~ir:could .n:otconc11lBiyely ex:<nlt~l·at(: Mr. Long and that the evidence was ''not




 •
      sufficient, as a matter of law, to compel DNA testing t() prevent manifest injustice,', the DNA O.rder

      includedaditectiontbafdefensecounsel bep-ermittedto examine the master case file and the spiral

      notebookin the possession ofthe.Concord.Poli(:e Departm.ent.

              On its o'\.Vn initiative, this Court, 'by order dated June 7. 2005, directed NorthEast Medical

      Cen~t to locate and preserve allbiol<>gicalevidence n1the hospital's possession and to provide the

      Court with a descriptive inventory ofsuch evidence. Northeast Medical Center~ by letter dated June

      5~ 2007·; indicated they tutrted everYthing over to the Conoord Police Depamnent onApri126~                           1976.

      Acopyofthis Courtys order anti tb~,Nqrtb~tMedi~Ceiltezoletterart! annexedeollecqvelyher.etu

      as Exhibit C. By letter of thiS Court to the unde~igJ:led Oated July lZ, 2005 (Ex. D) •. coupsel was

      provid.ed with certiilii rnerucalreb{)rds afthe: vi9timwliich w~re provitiedtq the Coup by NorthEast

      MediCal Center.. This Court reviewed in cam.erq2q pages ofme(lical recort!s:. redacted. certain




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•   portions and then provided ll remaining pages to ®unsel} Th~ medical ~cords indicate that Dr.

    Lance Monroe, the physician who examin~ the victim at.~ hospital on the riighl of the crime:

                        (a) combed the victim ~s:pubic hair· and put it into a plastic bag;

                        (b) took fluid fri:Jm the victim.'s vaginal vault and placed it on a slide by wet
                             preparation;.

                        (c) took additional secretions from the vagiruil vault and placed lliem on hvo slides
                             for dried preparations; and

                        (d) took a portionofthe fluid found in the vagina and .Placed it on two swabs which
                            were then pl~d into a test tube and stoppered.

              Counsel found in the medical records a docume11t entitled «Authorization for Release of:Rape

    Infortnation, Specimens & Photographs'', <bnedAprilZ6., 1976, whicltindicat~ the '~comhed.pubic

    hair fofth~ victim] .in plastic h~g,.' and'~ 1 testtube with vaginal: swabs and secretions'~ wen:! released

    to M§trshall J. I.&e <:>f the Concord Police Depatt:ment. (Ex. E).~

               AJJ diseussed more fully below, when eounsel examined the Concord Police Department
    master case file; we discovered that certain physical evidence was personally delivered by Concord
    Police Detective Van Isenhour on May ll) 1976 to the SBHabfot testing. With fue,assistance of$be
    North Caroli~a Center on Actual lnhorence and based on the efforts of SBI Agent Bill Weiss~ in
    January of2006 the SBI test results- excUlpatory in-namre ..... were delivered to cotinsel.

               Based ott that finding and other information that came to light, on March 15, 2007, counsel

    filed another Motion to Locate             and Preserve Evidence, requesting an order be issued to                   UNC

    Hospitals to search for ar1,y testr~ortsr~lati~toan.y biological evidencejn this case, including but


    l .To protect the   victim\~ privacy~ ~et' medical tewrdS are not a;nnexed to this mot:iOtt. However, sinee: the Court hiSS
        po~ession otthem, itis respec.tfU!ly request:ed they be conSt~ered part of4l~ ~oor<L . .   ·
    2
        This (;curtaJlio ordered the  ~e~~h of a~~r'il~enmit \\fhipb.~e Cpur;t l~~:migP-t<;ontain soo;teofDt.lvf9m:cf:'s
        tceC()fd$' and othermedicalitetns. {E:L F), F~U~·the ~tbJH.1ourt i~ed an. order; dated July ~2~ 20051
                                           m
        indicating that nothmg was fotmd the 'premises rebwn~to this matter, {ex. G;)



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    not limited to serological testing)> and to searchfor·any·te:sts tha:t.tllayhave beencohductedon·the

    victim's clothing {the '"UNC Motion~\ .Ex. H)," .Based upon our investigation and rese~

    undersigned counsel discovered .that. in the 1970s serological testing was frequently utilized to

    convict defendants ofmurder1,Uld/6r rape~ 3 While su¢htestingwas-toU,tmely conducted by the SBI~it

    was also conducted by what was then called North (!arolina Memorial Hospitali located in Chapel

    Hill, North Carolina (now caUedUNC Ho$l)itals).                 The'DisfrictAttorney conSented to the UNC

    Motion, and the Consent Order (px. t; was duly served upon UNC'Hospitals on Aprill2J 2007. By

    Affidavit ofMedic:al R.ec·ord.CustQd~, da~April26) 2(}07 (Ex.J)," counsel wa,s.iriformed that a.fter

    a diligent search,. trNC H:osp$tals"hllS no 1ned,icaLreccu:dsin the n,ame ofthe victim or~tt. Lon~{

    Counsel bas continued to try to determine if any serological testing was done by the SBf but our

    efforts ~ve beeu to no avail to 4~e.

                  Counsel also continued to search for the victim's clothing witb the assistance, of Concord

    Police Sgt. Robert Ledwell. Sgt. Ledwell informed 'US tha:tlie looked in the 'old' evidenee room art
                                                                                              1    1




    several oocasions;Jnclud.ing a search ofthat.roomjustbefurethe Concotd Police Dep.artrnem moved

    into its new headquarteiS; The clothing has .not been found and counsel does not kno:w whether~ at

    some poi.nt i.titime~ it was nJ.isplaced,lost ot destroyed. In addition,. counselhas continued tb search



    the SBI for testing but, pnee again, our efforts have }}e~p; to po avail..          B~ed upon the exculpatory

    evidence that has bee.Q found, criunsel seeks a new trial for Mr. Long~


        . ·~•..
             e.g., Statev. Ora~, 292N.C. 270,233 S.B:2d 905 (1977}~ StateV, King. 287 N.C. 645, 215 s.E~2d. 540
    3

        (197S); stam v. Woods. 286, ·&~c. 612,. 21:3 $J3:.d2l4 (1975).
        Th~ victim's. medical records ipdi~d.~.·~. ~t0;odsami)1e was-~. fiulli.tht-vit:tim·on •·the nig_ht·ofthe crime and
    4

        sent to the Depart:mentofPatbologyattJNCHospl.tals to hetestedforethano:lana "other volatilesn~ Those testS
        were negative.                              ·




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•                                                        Introduction

              On May lOt 1976, Mr. Lon~ a . .nineteerryear~ old cement masqn from Concord> North

    Carolin~ 'With no prior. felony record appeared in. Cabanus CountY District Cour4                                                                                            accompanied by
    his father~ on a misdemeanor trespass charge. The trespass case was dismissed and he return~ home

    where he livyd with hi$ parents and where ,he grew up with his sevenl?rothers and .sisters.

              That evening, Sst David Taylor and Officer Marshall Lee of the Concord Police Department

    went :to .Mr. Long"s home and asked him to come to the station to                                                       '~straighten out [a]                                     trespassing

    warrant}' (Trial !r. 21 5; )··.Mr. Long voluntarily drove to the policestation belieVing he was going                                            1




    to attend to some un:fimshed paperwork telatedto his tnoming court appearance on the dismissed

    trespass charge. Unbeki:lQWn.Stto hini,. he-was a>S;uspectin atape ca:seandhe woUld never go home

    again. He was· ·taken into the State's custody that evening ·and there be has -remained for the past

    thirty tWo _years.

               On Qctpbet 1) l976" within ~months ..of his arre&t, lyfr. Long was trfed and convicted of

    burglary and of the rape ofa promin~t white woman. in her historicdowntoW!l Concord home. 5

    From the outset of this case, Mr.. Long has· consistently maintained his innocence.                                                                                              Ind(!ed~   his

    contin,~ed profession of irulocence has helped to k~p him incarcerated: the North Caroljna Parole

    Board has deni~d him parole b~use be refuses tt?·- admifbiS:~(gui.lf' and participate in a sex offender

    treatmentprogram.(Ex. K).



    $   At trial; Mr. Loni·was. represented. by the law fl!r11 O:fefuUnber~ FergttsOn,: Stein -·and· Wallace (tile "'Chambers
        Firm.u)•. His t~d tnal~tromeys w¢re Jama F\il~r("Mr. Fulte.r")         and
                                                                                Karl. AdkinS e'Mr. ~dkfus}, ·Their: lead
        invesf;igat~Jr in thi$ case was 1$ B~(''Mt-c. Butn$~~ See the accompanying affidavits of:Mr.. Fulle£, !vfr; Adkins
        and Mr. .Burns:.              .                                          .       .                        .



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•                                                       The -State:'s Case
              The State's ca:Se at trial r~lied almost entirely on the testimony ·of the -victim. She testified

    that on April25, 1976~ she was attai;ked and taped in herhome by :an individual she described to the

    police just after fue·orime occl.lrted as:

              -'~A black male~   height, five, foot fiwtofivefot>t:hine:slender build~ slim hips. SubJect
              was plain spoke11t used oo~ct Englisb and at times spoke very softly. No-$peech<d~fect,
              accent. or noticeabl~brogue ~Vide.nt ~nbjeetwas.wea.ring a; <:4trlc 'Waist lengthleather
              jacke1; blue jeans with a dark tOboggan pulled overhis .head. Gould possibly have been
              wearing gloves.;1 (Trial Tr. 179~ 243-44, Ex. t.)                     ·

              Th.at description did nOt inclpQ.~ any mention <:>fthe pexpetrat6i: having any kip:d offacial hair.

    (Trial Tr. 243.) A police p}lotograpb ~of Mr. Lo-ng onA.pri13Q, 1976 ~veals that he wore a

    moustache and a ''scrufty beard';, at that time. (Trial Tr. 247; .State~s Ex. lO; State's Ex. 11.) 6



    (Trial Tr. 8~18) She testified she struggled andfou~htforb.er life (TrlaiTr* 15, 16~- 71,113, 119);

    that her assailant Ct>ntinuallyyeUe~ Hdon'tlo-okalmy face" {trial Tr. 9); andthatherassm1ant i~kept

    pushing [her] face to the side, hold~ pier} face with his bandn (Trial Tt. 78). The victim also

    testifieclthat she was very frightened) so frightened that "[she] had no idea [she1~d ever get out alive.

     There was noway. [She] couldll'tseeimy way of ever getting outh (TrialTr. 6~9, 12,13,44 44,

    116.) As soo-n as her a.ssallantfledthe sc~e-" the Ytctim.ran to a n~~gb.ii>Qr' s house and reported the

    rape. (Trial tr.l9.) Shew~ ad,mitt;ed fP tlje Mspital alfuQst i~diately afte~ the attack. (Trial Tr.

    143~145.)




    6
        On April30, 197~. Mr. tqp;g was artJ:!ste(i for alle~~ q-es~ in Caldwel(Parl4 which W3$located rlgbt
        behmd and adjilcenttc bi$ parent$' .hpme w~ryJ>;e li~ at tbe.tinle. Op~n his ~~s~ hj~ ·~mug ~Qf' .~ .taken:'
        That phot.ogra,ph sho-ws, ~r. Lpng with s,ide}?ums. a mo~c~ an<i·a scruffY l>~l!t"d. The trespas~ charge was
        disniissed o.nMay 10.>1976'- the·~· Mt. Lotlg ~In cou~tand :was identifi¢d by the victim.




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            Dr. Lance Monroe testif!ed th.arhe examined t11e victim otfthe night of the attaCk and that. in

    his-opinion, the injuries-he obsenied on.tbe victiii1 had been caused by Hsome sort-oftraumatic

    intercourse."· {frial Tr. 172). Dr: Monroe also described a slide he had made C():tltain]ng semen and

    sperm he !:tad collected durh1g a pelvic examination of the victim. {Trial T:t. .170--71.} There was no

    testimony by Dr. Monroe th~tnutt1.ero~ it.ems o_fbiological_evidence:i including pubic combings and

    no less than five samples ofthe bodily fluid of the perpetrator, were collected from the Vict:i.rn. (Trial

    Tr. 166-173.) There was also no. .   .
                                             ~estimony
                                              -           by Dr. Monroe
                                                                    .-
                                                                        or anyone else at the trial that the
                                                                                         .




    biological evidence was picked up :from the hospital by Offieer Lee of the Concord ·PoliQe

    Departtnent (see Trial Transcript)~

            W'hlle the vi-ctim waS, beingtreated in the hosp:itaL the Concord .Police Department conducted

    a full-scale investigationofthe crime scene. Pllr&'Ua.Ut totrutt investigation, Detective Vanrsenhour)




•
    whQ was the evidence custodian at the time! •. testl1:1ed that he lifted apartiallatentshoe print from one

    ofthe·porch columns onthevictim"sbome. He testified he had no wayofknowing when the shoe

    print was made and that it could have been made' as long as one month prior to the night ofthe rape.

    (Trial Tr. 291 ~) Detective Isenhourtoldthejury thathe a3ked SBI Agent Dennis :f...fooney to conduct

    an examination and comparison ofllie impression taken from the crime scene to a set ofsh<>e trackS

    taken on paper from shoes collected from Mr~ Long on the day ofhis·arrest. (Trial Tr* 288), Agent

    Mooney testified that_he con,d.ucted tbe examination and com.parison and that,.inhi$ opinion, the

    shoes taken from Mr. Long "~could have made~ the shoe track hp.pression found at the scene. (Trial

    Tr. 297~98.)      However, Agent Mooney.also admitted thai .he could not say that the print "'was

    ll1ade,. by either of .Mr. L()n,g's sho~... (l'ri~l Tr. ,49$.;.99.)




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•   of physical evidence recovered from. the scene. At closing,theDistrictAttomey•s office made the

    following arguments:

                • {'Every word [the victinl] uttered .is fully and elitirelycortoborated by the evidence as
                  was seen by the o·fficers in her home . . . and the latent evidence found by the
                    officers." (Trial Tr. 10.3-04.)

                •tThe :man that made that footprint is the man that broke into het home~,; (Trial Tt, 109.)

                •   .~'Mrs. Bo$!stestimony is not only accurate, b:uttotally consistent with every piece
                    of physical evidence existent. Evetyth.ing she says happenedthatis capable ofbeing
                    ~~oborated.:by physical eyidenC<':~ C:{!rrobar.ationJis so corroborated .•. Eve:ey piece
                    of p.bysical evi.Ience p9ints Dl!erringly to the fa~t that [the victiml tolp you
                    exactly whathappe:ned that night unerlin.gly. '' (Truu Tr~ 113, emphasis added.)


            At trial, the only direct evidence introduced linking Mr. Lon~ to the crime was the victim}s

    eyewitness identification. ·The only scientific evidence introduced by·ilieState was the latent sboe

    printthat the State;s own witi:less could not conclusively link to Mr. Long. TheState al$o.introduced

    as evidence against Mr. Long ablackleatherjacket.he was wearing the day he was•arrested, ap¢r of

    black leather gJoves and a. green toboggan that were recovered from the car he drove to the police

    station the day he was arrested. Mr. Long has. consistently and persistently denied, from the

    begi:nning ofthis case, that the tobOggan belonged to him and testified he had never seen it before.

    (frialTr. 21 &.) Atthe trial~ defense oo'unsel elicited fr0ll1 Sgt. Taylor thanhe hairs that can be seen

    in the toboggan ate light in rolor. ('frial Tr. 31 0.}   ~It\ Long is an Afric.;~nAmerican wbose·hair was:

    and is bl~ck.

                                The.Identifieaflon.
                                    ..      .   -.
                                                    Evidence. and Procedure

            OnMay 5. 1976, ten days after the crime occuued, Sgt. Taylor.and Lt. George Vogler went to

    the victim' shome and told her, "'it would be necessary for hertel go to district court onMay 10~ 1976




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    af9:3·0 a.m. to observe all petsons:inthe courlroom''l. stating that ''we don't know, we: have reason to

    believe that maybe this day,. orin a couple ofdays ifyou would come...that there might he a man in

    the courtroom that [she] couldideritify...as the man who raped [herr;; and to "watch carefully for,

    and see if she could recognize;thepersonwhobrok:e in on. her ,April25, 1976 and raped. her~ (Trial
                                                                                                     Jj




    Tr. 20·21, 181.) She W"a.<i told, ''they had reason to believe there might be somebodythete that [she}

    could recognize.~. as theman·who raped me.''{Trial Tr. 21, 45-46.}

            Sgt~ Taylor and Lt. Vogler picked the victim up the moming of May l Otb-fifteen. days after

    the crime occu.tred ... and escorted her. to the courtroom.
                                                        ..
                                                                (Trial Tt;25; 183 .) Mr. LQng was scheduled
                                                                . .   .   .   .   .    .                .



    toappearincourtthatmom.ingfortheallegeci.trespassviolation.(Td~liJ:'r.2l4.)            Shestatedshewas

    instructed by the officers ''to sittitere and tolookaroundan.d seeifl saw anybody that I knew) or the

    man that raped me, and I did that Beforelcam.e..d(}Wn to be seate~ I looked around to see ifl could



•   see any black person and 1 saw a 'few'. {TrialTr. 27,)

            The victim testined there were 35.: 50 :people in the courtroom that day (Trial Tr. 27) and

    "there were some blacks in there, like maybe, a dozen,'. (Trial Tr. 27-28~) She also testified that the

    judge asked people who did notbave a lawyer to line up front and pick up soule papers {Trial Tr.

    28), and that ~~maybe two ofthetn were blackn (TrlatTr. 28-29). She testified on cross examination

    that one of the black men in the courtroom was ·"very light and tan, and all stooped over . . • and I

    noticed several.in the audienee that had affos~' (Trial Tt. 45-46). \\'hen asked.if she saw '(anybody



            She testified .she satin the eourt:t'oom ~constantly lookingarau.nd"' (Trial T.r. 29) for about an

    hOur or an ho\ll' and a ha!fbefore Mr. Long's case was ca!letl (Trial Tr. 4849, 127). Sf1etestified

    she did .not see Mr. Long duting.the entire time .she was 'looking around. {Trial Tr. 2'8)~ She also




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    stlited thatin her mind s.he lcnewwhy she· was ask:fJdta gQ to courtthattJay. (frial Tr. 129)' emphasis

    added)~ The victim testified that tbe judge ~'aSked for Ronnie Wallace .Long to come before             ...

    come up'" (Trial Tr~ 29)~ and· that she recognized .Mr~ Long es be was walking toward the judge with

    his rather (Trlil Tr. 30, 51-52). She testified she indicated to her friend ~~e s the one<>', but aJso

    indicated that she saw Lt. Vogler and Sgt~ Taylor sitting in dle ju:ry bo?t (Trial Tr. 30), even though

    she claitned~'shedidn)treallylookatthem until after lreali~ thatJhadrecognizedhim'' (Trial tr.

    3Q...31). The trial testimony.indicates that·Sgt. Taylor observed where Mr. Long was sitting in the

    courtroom, andnoticedthathisfatherwassittingbeside.him.              ('friatTr.l8.4~185.)   Sgt Taylor was

    also observing the victim. (Trial Tr.l85-186.) Befoteleaving the courtroom, the officers asked the

    victim if she was     ~'sure"   and she said ~)res";<tbat there was ~~no dtn.ibtiri rny mind. Absolutely no

    doubt'~.    (Trial Tr. 33).




•
               About 15 or 20 twenty minutes after the courtroom identification (Trllil Tr. 49), the officers

    took the victim to the police smtiot1 and showed her 6 or 8 pictures. The victim testified '~I picked

    him out". (Trial Tt. 33; $0.) f!owever, she also testified that qne Qfthe.people in the photo array

    '~looked like it might hav~. been a woman". {Trial Tr. 34~) A<ldi:tionally, she was asked at .trial if

    ''them was a:nything.distinctiv~ abo:ut thedtess ~f~yindividuals.depicted:iil·tho~• photographs that

    drewyourattentiontothcrn·•.andshereplied'tltwasth~jac:ket ... itwastbeidentical~ooeidenticalto

    it It was a leatherjacket~\ (Trial•'Tr. 3S;) She testifie<f.:that Mr. ·tong was the onlyone.i.n any of the

    pictures that had on a black leather jacket (Trial Tr. 53.)

               The victim testified that she :was trot sure ifthe police told her Mr~ Longls name ·before she

    saw him in. the cou:rt:ruom or at the foUow;.up photo say (trial Tt. 52). She wavered m her

    testimony as to whether or not sh.eknew the name ofMr.. Long before the judge called his casein the




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•       courtroom that day,· and also wavered abo.ut whether or not the police told her Mr. Long's name

        before she. viewed the photo array. {Trial tr. 51-53.} Shetestffied that ''they could have [asked her to

        pick out RonnieLongJ bu:ti don't know~ I don't remember finding ou~ even finding out that when~

        what'hls .n.ame was. reaiiy;~ .. (Trial Tr. 53.)

                  During the. trial,; the victim pointed to Mr. Long from the witness stand and identified him as

        her assailant (Trial Tr. 20.) She said there wes no doubt in her mind whatsoever that it was hirn.

    '   (Trial Tr. 40, 187.) The State also .had her eX:ati1i:!le Mr. Long"'s photograph a second time from the

        witness stand. (Trial Tr. 40.) Despite her alleged certainty, the victim admitted she rtever visited in

        blackpeople~shomes(Tria1Tr.l30--l3I);didnotbavehlookpeopieev.ervisitm.berho.me(TrialTr~,

        131 ); and said she did not know very many black p&lple and did not have much experience with

        them (Trial Tr~ 131 ~I 33 ). l)e victim also testifiedJhat she was very frightened, so frightened that




•
        ·~[she]   hadnoidealshe]'deV:ergetout adive.OTherewasnoway. [She) couldn'tseeaqywayofever

        getting out'' (Trial Tr, 42.)She said her assailant thr¢tenedher witha knife while repeatedly yelling

        "don't look at me" and shoving he-r head to tbe s1d<f so thatshe could not get a good look at his face.

        (Trial Tr. 9J8.)

                                                           ;rbe.])efense Case

                  Mr. Long's·trial counsel put !orthanalibidefense, calling several witnesses who teStified. that

        he had spent the aftemoon,planning-ahighscl::llcKilreil!iionparty (TtialTr. 311-12,316-17" 322-2:3,

        329) .377); spent timeathomein theevening(atthetime oftheatta¢kofthe victim) talkin!I to his

        girlfriend and young son on the phone (Trial Tr~ 33843~ 347-53); listened to music in hls room

        (Trial Tr. 352); and then, around 10:00 p.m.~ drove with a friend to a party in Charlotte (frial Tr.

        362, .377)~    The victim. testified   ~t   the atuwk ()cc~e~laround 9:.~0~~l:45 p.m.   w.h~   witnesses




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•   testified Mr. 'Longwasathome.(trial Tr~ 5,40"-41,_.3:38..43. 347-53.) Otherwimesses testinedthat

    they.did not observe any scratches orinjuries on: Mr.. Lo11g or an.y scratches on his jacket that night at

    the parcy. (Trial Tr. 325, 330.)

            The trial transcript reflects that on both cross examination and in. the:ir summations, the

    defense attempted to cha.Uengethe acc~y ofthevictitn' sidentlficatiort.by de:tnonstrdti~ that she·

    had little to no interaction with. A.frican-Antericans. They pointed out that: her initial descriptionof

    the perpetrator did not resemble Mr. Long or include a descri.pti.ort of the perpetrator having facial

    hair; she was terribly frightened; ·she had. alcnife to her throat; it took her a long time to identify Mr.

    Long even. though she sat in the eourtrooJ:llfora.tlhot~t or more looking for him; she initially told the

    police her attacker was bl~l< but then Crumgedher testiinony to ~'lightsk:iilned" or)'ellow looking'';

    she recognized Mr. Long becau.,";e IE·was wdiringa leather jacket; the toboggan bid the perpetrator's

    face; she was:. understandably,·extremely emotionally upset.     The defense also pointed to the lack of
    physical evidence connecting :Mt. Long tothe critri.e: SBl Agent Dennis Mooney admitted that he

    could not say that the latent ~ho(! print was ~.by Mr. Loqg's shoes; there was no paint on the

    leather jacket or leather gloves; there ·were no scratChes on Mr. Long or bisjacketeven·though the

    victim admitted she fought her assailant; the hair that could be seen in the toboggan was light in

    color as opposed to the black bait ofMt. Long; and no blood was·Jound on Mr& Long:~s clothing.

    Trial counsel did not have the medical records of the victim and;..of course, were unaware of the

    existence o'fexculpatory evidence.

                                                 New.Evidwce

            Asaresult ofthis CoUrt's otder ~tingthatc.O'f.mselbe ~lbWed to examine the master-case

    file and the work ofSgt Rob{!rt Ledwell of~ Cgt1cord Police.D~partrneQt iti~ now known that: on



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•   the night ofand the day after the crime :occurred~ the police collected certain physical     evidence~

    including a ~'suspect hair" found at the bottom of the stairs where: the rape took place; the clothing

    the victim was wearing when she was. attacked, paint samples. from the porch banister believed tt>

    have been scaled by the perpetr:ator, and carpetfibets .from the victim ,s home. The summaries of th~

    physical evidence collected) which.·were found. brcurrentcounseHn the master case file, are a~d

    hereto collectively as Exhibit M.

           In additio~ the master case file revealed that almost all of the physical evidence was sent to

    the SBlfor forensic examination. A copy ofthe evidence sent to the S~I and the requests for various

    tests to be conducted.is·annexedherewasE:xhibitN. These documents showthat,in. addition to the

    shoe print evidence that .wag. introduced at trialJ :Nfr. Long's jacket, gloves and the toboggan

    attributed as belonging to filin by tllY .Police wer~ ,Personally delivered by Detective Isenhour to the

    SB:I on May ll, 1976 to be ana.lyzed fot,~¢ pres¢nce ofpaint, carpet fiber~ or the victinfs hair.

    \Vhile photographs of the victim's. clothing~ which was tom from het body by her assailan:t. were

    introduced attrial (State•s Ett. 3}, the actual items of clothing (whiqh included her housecoat, pants,

    underwear~              pantyhose and bedroom slippers) W'Vte. not. However, the victim's ·clothing was

    delivered to the 'SBI for analysis to look fo.r ~· presence of ,Mr. Long~s head and pubic hair.

    Matchbooks taken from, Mr. Long's 'Yebicle ort the datofhls arrest were asked to be cor:npared with

    burned matches fotmd in the ¥icti1n'stesidence on the nig:ht ofthe crime. Finally, Mr. Long's head

    and pubic hair were delivered fot com:parison vvitb. th:e haitfound in the hallway at the. base of the

    stairs where the victim Was'rnpetl. TbeSBJ reportS indicate that after the evidence was testedtit \Vas

    to be retrieved personally fttimthe<SBI by Detective Ise®<Ju~-. (Ex..O). Cottnselll~ been tma.ble to

    discover whatbappened to the evide~ after it~ relya,gOO by the SBito De~ec1ive Thenllour..



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•            The master ta~ file d.ld not contain any SBl test reports. Oespite the SBI's iriitialletter to

    this Court on June 16, 2005, indicating they had. t.to records ofany testing done in this case aside

    from the latent shoe print introduced attriat (Ex. P), the master case file indicated-the, SBI tested

    physical evidence. With the assistance of the North Carolina Center o:n Actua11nnocence3 tlleSBI

    was urged to look for the test reports which were found and provided tn defense counsel inJanuary

    of2006~    A copy ofthe SBI test reports are annexed as follows: a report by Examiner Glen Glense,

    dated May 191 1976 (Ex. 0); areportbyExaminetR.;D~ Cone; dated May 14, 1976(Ex. Q);and a

    report by Examiner Dennis Mooneyj dated May 19 1 1976 (Ex~ R). The tes.t results are astounding

    for none-ofthem shilw any match to Mr. Long. .Rather all ofthe SBJ results pointt;d in the opp()si'fe

    direction- the physic(ll evidence in thi$ case sttQttglypairtted.to Mr. Long's innocence. Just as

    astounding is the fact that I'Ulne, ofthis evidenee        was mttoduced at .trial becat!>fe Mr; LOng's trii1l
    attorneys were corn,pletely unaware thiitif~d bee_n collected, sent to th~ SBTCJ'J!ld tested. 7

             theSBI reports indicate that on~ May lt 1976~ Detective Isenhour personally submitted the

    follo'Wing items to the SBI for ~estin,g:

                      a.            one plastic bag oontainins/a;g,teentobo!$an;
                      b.            one plastic bag containing a pair ofblack gloves;
                      c.            one plastic bag cQntaining a black leatherjacket;
                      d.            one plastic ·bag containing kna'Wtl·head hair from Mr. Long;
                      e.            one plastic bagocon.tainfu.glcnown pubic hair tzrom· Mr. Long;
                      f.            one glas!) ~t tu~ c.Qntaining ~a,.g?etfi~r~ take~ :ftom the victiln:ts hotne;
                      g.            one glass test tube contai:ning paint from the .scene;
                      h.            one plastic bag containing sU$peot hair from the scene;
                      1.            on~. pla~tic~ eonuumng kn9'Wll head ?tJ,d pubi~ hair from the victi.m;;


    7
        See the annexed affidavits of Mr. Fuller and Mr~ Adkins.



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                                                                                 ..............................   -----------




                 j.       one: plastic bag containing matchbooks;
                 k..      one plastic bag contairiing three partially burned :riurtches; and
                 l.       one _plastic bag containing the Victir.res clothing
(Ex. Q.)


        Detective Isenhour requested that the SBI conducta comparison of the· suspect: hair found at

the seene with the haif·sarnples taken from the Mr. Long~ _Examiner Glense' s report indicates.the

following analysis: "Microscopic examin.ation and comparison of th.e h.air found atthe scene ~ •

• showed it to .be different (rom tb·e suspect's hair •••rt (Ex; 0.) The examiner~s notes- further

indicate that the .hairfound .at ~e seen¢ ~Cl$- "mQreredgisJi." witha ''heavier pigmentation~ while Mr.

Long's hair was '~more brownish gray"' Vrith'Hm:ore scattered pigrn.ent.n The medUlla of the hair

found at the crime scene was ''-wide"' while the. medulla QflVft. Lqng'$·hair Wa$ '"nl:ltTow',. '!'be hair

found at the scene was •'more oval'~ wbil~- JY.Tr; Lpng'sharr was ~;(ilatter:..ribbony"' ~ In his repot4 the

e~er speel.llates that tl.le hair found. at .th<! scene ~~ma.ybe negroid or ~{Mongolian)'~.                            The

exam.iner specifically ·concludedth,at the hair found.. at the scene was '~different. from suspect's hair».

(Ex. 0). 8


        Detective Is'etihour also requested an exfm}fuatlon of the Victim~s clothlng for hair and a.
comparison of aJ.:IY ·-hait.-found with the ltair· taken from Mr. Lring. ·Examiner Glense indicates the
folloWing result: ""No bait·or balrftagmtnts similar to the suspect's werefoundin the vietim 1 s
clothing"'" ·(Ex. 0.)


        Detective Jserthc:mr further requested that the. tobog~ fue                glov~s            apd th~ lea'therjf}Cket
eoUected on the day ofMr~ Long:s gre;st"be extm.Uned for the presence e>f-p~int ~d carpet :fibetS: to

'Interestingly* the hair fhund at the sc~ w~ 'l'eddisl;t" whicbJs also-~ color ofthf; hair in_ the tobogg~n t~t t;M
  be seen with the naked eye.



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   see if there was a: match to the painf and caqretfibers coUected nom the victim"s home. Examiner
   Con~·s report states th:e examinEt-WtlofMr~ Long's.elotlring '~failed to reY~lthe p.resenceof~ny

   fibers or paint sim.ilar to those fsubmi(tedf.tt (Ex. Q.)

           Dete~tivelsenho:or r~q~J(!steda comparison ofthe rnatches foundatthe crime sc.ene with the


   matchbooks allegedly found in Mr. L.ong~scar. Atte~amination ofthe matches "failt:!d tor~ve~J

   sufficient identifying tbara-eteristics to allow th.~ ex;s;mltu~r to give a:n (!piniQn with regard to

   their origin relative to the.matcbbooks .... /' (Ex. Q.)

           According to a separate report {Ex. R.); on that same date (May 11; 1976)t Detective Isenhour
   .also submitted to the SBI (a) one sb.oetrackimpression, and. (b) tvvoknownshoetracks on paper.


   He requested an examination. and comparison of the impression t~en.from the ctir:ne scene to· the
   shoe tracks taken on paper from shoes oo.Uected from Mt. Long on the day ofhis arrest The 'Nritten
    SBI shoe print report prepared by Examiner Mi>oney was never provided to trial counseL9 Only the
    latentshoeprintfrom. ilieseene (State~sEx. l3}and theshoe>impressionsfrom Mr. Long's shoes.

   (State's Ex. 15A & 15B) were introduCed as evideilceatthe triaL However, consistent With the

   testimony at trial, the May lQ, 1976 report of Examiner Mooney notes that              ··~there   were an
    insufficient numbetofdistinct ehamct~cs noted by which to effect any identification."· (Ex. R;

    see also Trial Tr. 297-99.) Detective Isenhourtestifiedtbeprints found at the sc·ene "could have

    beenn made "a month ago'" (meaning a month before the crime occurred). (Trial Tr. 270.)

           Th~    is not one scintill:a ofpJ;tys~cal evidepce connecting Mr. Long to this crime. ,None of
    the SB!labi:iratory reports wa.,- ever disclosed to trial cdtmse1. 19 Mt. Long's trial attomeys were led
    to believe they had received '~open. file discovery." Indeed, tbatbelief continued: on December 16th~

    1987 at a hearing on Mr~ Long'.s motion for post~conViction relief, then District Attorney James




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•   "'Bobu Roberts stated tbathls o:ffice,provided "'virtl.lally:an open file for [the] preparation of[tbe]
    def~nse."   (See pp. 49oi50fm1Il. a transcript ofa 198Shearing on Mr. Long'-s Motion for Appropriate
    Relieft annexed hereto as (Ex. S.) However. Mr. BUil1s, tbe.lead investigator for trialcounselt kept
    his field file for 31 years and pr.ovidediho@C Law Professor, RichardRosen~ in March of2007. 11
    That field file contains a cp.py of the c;omplete discovery :received by tr~al counsel (attached hereto as
    (Ex. T) which.def'tnitivelyshows th~ttriat,co:unse:l was .never informed ofthe tasting ofthe eyidePc·e~
    much less the attendant results,. by the SBI. Ind~ when comparing a copy of the discovery

    produced and contained in the Cabarrus County Clerk:ts OffiCe: file to the discovery keptin          Mt~

    Burns~ fil~,   those di$covery docwn,ents Il1i.itch pag~ for pag~~ word for. word.

            ln>additio.n, the· testimony received ~ttri~l was· designed to:affirmatively conceal the fact that

    most of the physical' evidence was taken for te!)ting.. Whe11 asked under oa¢. at trial to nan:1e the

    items he took with }lim to the SBI qn M~y ll ~ 1976,,, Detective Isenhour testified that be delivered

    Mr. Long's shoe~~ the inl,<ed i.m:pressio~ made from those shoes the day b~fore and the latent lift he

    had found onthe'banisterrobmrn ofthevictim'shouse, (tria.l1'r.265.} He furthertestifiedt.llat:the

    shoe print evidence never left his custody or control (trial Tr. 265). However~ itis dear from the

    report of Examiner Mooney tbmth.is evidence was Jeftwith the SBI ·for examination.

            More importantly, Detective Isenhour Utterly fuiled.to· disclose any ofthe other items that he

    took to the SBI lhe srime dt:jy he took the shoe jtrint evidence. Again; Detective Isenhour led the

    defense and the jury to believe that the t&boggatl,; thel¢atherjaekct aml the gloves b~ remained in

    his sole custody and corifi'olfrom the time it was cOllected until the dayofthe trial. (Triail Tr. 265,

    282" 284-.286,. 288-289.) A.s. op.e example, at-trial De~tive lse1)hour was~~. aboutthe black

    leather jacket tak:en from Mr. Long at the p<jlice station on the day of his arrest. On direct




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                                                  ············································--------------------




 •    examination, ADA Ron Bowers asked Detective Isenhour~ '~Where has it [the Mack leather Jacket]

      been since youreceivedit? 1' He responded, ~"It has been in my custody and control.''" (Trial Tr. 289.)

      According to the SBir.eports~ the e'Yidence(includirt,g the jacket) was delivered to the SBlon May

      I 1, 1976 arid left there Ull.til atJeast May 19th. The May 19th report ofExtUnirier Glense indicates

      ''Please.notify Det Isenhotl! ~men resilltsi$ crimplete and be will pick up. evidence~'. (Ex.O~) The

      May 19th report also indicates that the evidence was received by Examiner Cone from Detective

      Isenhouron.May 11, 1976; that·theevidencevv~ntto EX.aminerGlense fortestingon.May 14)1 l976;

      and that the evidence ~vas :returned by Bx:anliner Glense to Examiner Cone on May 17. 1976.

      (Ex.Q.)

                Sgt. Taylor's testimony at trial also. reveals an effort toavoid disclosure: c&th:e results of the

      SBI testing. Onr~cross examlnatitm?' after listing the items that were~llegedlyrecovered ti:om the




 •    car that Mr. Long drove to the police statio~ Sgt.Taylor was ~ked why the matchbox covers were

      taken into evidence. The following ex:cnange fakes· place:

       Q.       Why were the match box covers received?
       A.       It was physical evidence we obtained from the $Cene to match with the matches we gotout of
                the car~
       Q.       Could you explain thai I didn't ...
      A.        We obtained some matches from th~ scene of the crime•. Some matches that had been
                struck and lit; and we tQOk; matches·,ofsimiiar nature from his vehicle.
       Q.       What kind 'Of matches did you find?
       A.       They were just paper matches.
       Q.       Did they match? ·
       A.       I didn't match themt no, sit.
       Q.       Then they were not matched?
       A.       to in.y knowletlge, they were :11ot qaatche.d.,
       Q.     Inntherwords,'tbematchesyou.gotout-oftbe,cwrdonot-matchwiththosefoun:datthescene
       ofthe crime?                          .
              MR. BOWERs:         Ob~on.
              COtiR.T:            OVenul~.
              THEWITNESS:         lcan~ttestifyto:•.tbat.
              COb"R.T:            I)o you tutve any information thafthey didn't match?



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       THE WITNESS~             Nh, sir, they didn't match.
       COURT;                   They didn't match.

{Tria1Tr.208-209.) NotonewOrdwassaidattrialthattheSBJhadcondu.ctedmatchtests.andfound

the ·evidence to be insufficient to draw any conclusions. (See,. Ex. Q.)

       In addition to the hair at'ld shoe samples ~en fh>m. Mr. Long~ the officers.claimed t:bat upon
a search of the car (which .Mr. Lo~g had driven. to the police station when asked to "rome 1o the
station to straighten out this [dism.is$ed] ttes:pt!Ssing   wa;rant:~)}   they found a green toboggan
underneath ·the ·driver~ s seat. (frial Tr~ 237.) Mr. Lorig has. consistently and persistently denied,
from the .beginning of this case, that the toboggan belonged 19· him and testified he had never seen it.
before. (TrialTr. 218.) Atthe trial, defense coutiSel eticitedfroro $gt'Taylotthat the hairs that can
be seen in the toboggan are light in color. (Trial tr~ J io .) This statement is validated by the SBI
report indicating that the _hair fqund at the scene was ~.'more reddish•' than the hair -of Mr.    LOng~




        The victim.' s hospital records werenotprovided to trial co:unse.t12 According to the medical
records~   numerous items of physical evidence, including pubic combings and           no less than jive
samples .ofthe bodily fluid o.fthe perpetrator, were oollected from the victim. The medical records
show that on. April26,1976, the biOlogical md$ce WaS pi¢;ked upfrorn the hospital by Officer Lee.

There the trail ends. None ofth~ medical evid~ the hospital.coUected wasintroduced at trial nor
wa:Strialcounsei aware it even been cdllected an.d made avail~ble to the inv.estigati~g officers.;. A$ide
from the factthat five samples qfbodily tluitd Wt}te (;t>ll~ frotrtthe vieti.tn, the records also show
that the victim's ''Vv-rists are markedly sore:·and. swpllen ... 6cbtirred when $he was trying to beat her
assailant over the head "With her hands and Wrists"; and tb.at her ufirtgemai1s are all sore and.some of
them have been bent backward which the patienttbinks ooeutted when she was trying to scratch her
assailant and fighqng back''. This· is consistent with the victim's testimony that she fought and




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scuffled witl:4 and scratched ather attacker:. This evidence supports the alibi defense: no one, saw
scratches on. Mr. Long or bisjacket at the party.he attended in Char.loue the night ofthe crime.

          Althougl1 the evidence connecting Mr~ JJ)ng·to the crime was quantitatively small, tbe
victim's identification atfP,e triaJ.had a dramati~ impa~t on the j:ury. The victinl. pointed to Mr~ Long
and iden.tifi.ed him as he.r assailant from the witness .stan;d during the trial. (Trial Tr.. 20.) She said
there WS$ no doubtin hennind Whatsoever thatit was him. (frial Tr. 40, 187.) However, it is now
well-established that identificatitm evidence .is suspect. This is especially true in this case. n Had
trial counsel had the benefit of the exculpatory evidence, it             i.s likely that evidence would have
affected the out()ome of the trial.              The failure to provide· Mr~   Long~s   trial coll!tS¢! with   critic~

exculpatory evidence violates Mr. Lon;g,s federal .and state constitutional righ.ts.


                        REASONS·.WHY· THE:MOTIONFORAPPROI'RIATE
                                   . , RELIEF SHOIILD BE GRANTED

1.        Mr~  Long's conli·ctionwa$ubtainedin Y:iol3tion otth,eConsdtntion oftheUnitedS~t~
          and the Constitution of North Carolina bt that the State ()f North Carolina failed to
          disclose exculpat<Jry .mateJ:i~ to the de{eD$~ i.n viol8cfi9:n .of M.r•. Loug"s right to a .lair
          trial under the due process elause of the Fifth and Fourteenth Amendments of tbe
          United States Cons:titlrtlm-.and Artiele'I, ~eetiqn 19 ofth·e North Carolina Constitution.

          A defendantmay seekapproprlate relief when his conviction was obtained in violation. oftbe

federal or state constitutions. N.C. (Ten. Stat. § lSA..l415 (b) (3) (2007). At the :time of his 1987

state petition for post··conViction relief) Mr. Long was :not in a position to raise the constitutional

clainis presented by this motion due to the State's failure to disClose the exculpatory ·evidence in its



I, Section 19 ofth-1! North Carolina Constittititm. Thepn:u~ecution's failure to disclose exculpatory



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     See·disc.ussionbe1aw atpp .. 28~.3·6,



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                             .................................-----~--:------------------




•   evidence and the resultingp:r:ejudice tO Mr. Long also constitute ~~good cause'~ under N.c. Gen. Stat.

    § lSA-1419 (b){l).


              A criminal defendant is entitled to ex:ctilpa.tory evidenceJn the hands ofthe Stat<; and failure
    to disclose evidence favorable to the accused violates a defendant~$ ri~t to due process When the
    evidence is material either to guilt or to punishment: U.S. Const. Amends. V., XIV; Const. ofN.C.

    Art. I,§§ 18, l9J 23; Brady v. Maryland, 313 U.S. 83 (196.3); State v. Canady, 355N.C. 2423 559
    S.E.2d 762 (2002);State v. Barber.l.47 N..C. App. 69,554 S.B.2d 413 (20tH); State v. Bates~ 348
    N.C. 29,497 S.E.2d 276 (1998).


              Under Brady, favorable evidence is material ~'if there is ateasonable probabilitY th~ had the
    evidence hee.n disclosed to the defense~ the result bfthe proc.eecling would have been different."'

    United States v. ~agley.. 473 U:S. 667~ 682{1985); ~also Muellery. Angelone.. 181 F.3d. 557 (4th
    Cir. 1999), cert, deni«l. 527 U.S. 1065 (1999); State: v> CanadY:~ 355 N.C. 2421 559 S.E.2d 762




•   (2002).      A. "reasonable probability'~ of a. different result is established when the govemmene
                                  .        .                                                     .     s
    suppression of evidence ~~undermines tonfidence in thetlutcotne ofthe triaL;,. .Kyles v. Whitlev, 514
    U.S.419,434(199S)(citingUnited$tatesv.'Bagley,473U.S.667(19S5));.~_alsoStatev.Johnson.

    165 N.C. App. 854; 559 S.E.2d 599 (2004}. In <>rder to eStablish materiality; it iS. not necessary to
    demonstrate that disclosure of~ suppressed evidence would have resulted in acquittal nor is the test
    for materiality a "sufficiency ofthe evidence') test     Kyles~   514, U.S. at 434; Canady.. 355 N.C. at

    252,559S.E.2dat767. •11J.eq"ttestionis··n:otwhetbetthe-defendantwou1dmorelikelythannothave

    received a different verdict with the evidimce, bUt whether in its absence :he received a fair trial,
    understood as,atrialtesultingin averdict worthy ofconfidence., StriClderv. Greene, 527 U ~s. 2~3,
    280 (1999) (citing Kyles v; Whitley. 5 t4       U.S. 419 (1995)). In deten11ining whether undisclosed
    evidence is material~ the ootirtmustco.nsiderthe .cumulative effeetofall s~ppressed evidence, raffier
    than considering each item ofevi.dence indiY.idualJy; K:xfes) 514 U.S. at 436~ The duty to disclose




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encompass:es impeachment evidence· as· well as· exculpatory-evidence. United. States v,Bagfey. 473
U.S. 667 (1985); Gislio v. United States, 405 U.S. 150 ( 1972).

        The States aff.irrn&ive duty to disclose Brady material extends beyond the prosecntor"s
office to include State investigative agencies, including the police. Kyles> .514 U.S. at 437~438.
See~ also. N.C.   Consti. .Art. IV, §18; State V; Sinith. 3.37 N;C. 65:8, 447 S.E.2d 376 (l994)(the fact
that a prosec11tor does notkn9w (Jf the existence of exculp~tozy evidence is irrelevant since the
presence of such evidence is imputed to the prosecution). In State v. Bates, 348 N.C. 29, 38~ 497
S.E.2d 276,281 (l998),the.NQrtl1Carolina.SupremeCouttheJdthe"State'sli?biiity [under Brady]
is 'notlimited tc:rinformation mthe actual possession of the prosecutor and certainly extendsto any
in the possession of state ~gencies sul)ject ·to judicial control." these rules, by extertSion, apply to
records .in the possession of tb~ SSl and are especially critical if local law enforcement had
knowledge of the substance otthe in:t;orrnation poss.essed by the SBI.


        The Fifth and Fourteenth .Amendment$ to the United States Constitution and Article            I~

Section 19 of the North Caronna Constitutipnprohibitthe State from knowingly presenting false
testimony~   Giglio y. United States, 405 U .S.lSO (1972}; Napue v. illinois. 360 U.S. 264 (1959};
State y. Boykin. 298 N.C. ,()87;; 259 S~E.2d 883 (1979). In Napue'~ the. United States Supreme Court
held that a conviction obtained throu:gh the knowing use of false testimony by the prosecution.

violates due process. Napue,c $60 U.S~ at 269. 'Ibis is true whether the prosecution solicited false

testimony or simplyallowed.suchtestirnonyto pas$ unCQrrected. Giglio, 405U;S.at 153; Napue.
360 U.S. at 269. The Supreme Court has cQnsistentlyheld thattbe~e offulse testimony is material
and violates due process whenthereis "'anyreasonabl¢likelihood thatthe false testimony could have
affected thejudgmentofthejury'~. J<rles v. Whitley,514 IJ.S'. 419~ 433 n.7 (1995) (quotingUmted
States v. Ag~) 427 U~S. :97 (1976)). The defendant does n.ot need to show the prosecuting .attorney
knew the testimony was false. Knowingly faise ·ot misleading teStimony by laW enforcement. is




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•   imputed tO the prosecutioa Longworth v. Ozmmt, 371 "F Jd 437 (4th Cir. 2004); Boyd v. French,
    147 .F.3d319 (41n Cit. 1998).

            A. The Failure to .DiSelos~ Brady material:


            Mr. f..ong was convicte4 after a trial ill which. the only direct evidence introduced to link him
    to the crime   was the identiti~atian. testimony <>fthe victim. It is now dear that the reason for the
    paucity of evidence introdUCed at trial is that the teltll;litiliig evidence gathered duriiJ.g the pre~tria1
    investigation of this c~ excludes Mr. Lpng as· a· suspe:ct" See McDowell v. Dix911 858 F .2d 945
    (4th Cit. I 988) (holding that the defendant w~ denied due process by the nondjsclosure ofevidence
    wl:lere the onlydir~ct evidence presented by ~he Stat~ a;ttrial was an eyewitnes~identiticatiqu; tb(!re

    Was no evidence of matching fingerprints, bloodstains, body secreti-ons, hair ot           fl~rs,   and the
    withheld evipence was contradictqr:y to the prosecution's C(lSe}; ~ State v. Campbell. 133 N.C.
    App. 531. 515 S.E.2d 732(1999), disc. revie.\v denied 351 N; C: llt 540 S~E.2d 370 (1999) (where
    court denied Brady claim with respect to bait san:tples that were           never tested and defendant
    confessed). It is equ~Iy cle~ that, absentdiSGlo.sure Qfthe ex;cu]patocy evi~nce, Mr~ Lo.~ did not
    receive a. fair trial and any confidence that might have existed in the verdict has .clearly been
    uhdenttined.


            Cuttent counseldiscoveredth1tt tb~ Di;§trict Attorney's Office failed to disclose excU.lpatory

    evidence in the form ofSBJ laboratory repo.rtstbat were available to the State within days of Mr.
    Long's: arrest Over the32 years since the co:pvic.tion was obtained, the State has not only failed to
    avail :itselfof numerous opportunities tQ discJ.os~- these rv:ports~ th~ Dh;tri~ Attorney's Office has
    affirmatively led Mr. Lon,g and his aitomeys . to believe that all e~isting re<:o:rd$ were disclosed and

    t.ha.tthe trialattomey$. had received '"openfilendiscovery pursuant to. the policies ()ffonnerCabarms
    County District Attorney James 'Roberts. 14 In B~ v~ Dretke, 540 U.S. 6$8, 692 (20(l4), the United




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•   States Supreme Court held that a defendant is entitled to rely upon the State'.s reptesel1tation that the
    State follows an "open file'' discovery policy in fulfillment of the .defendant's statutory and
    constitutional rights to pretrial. discovery, including Btctdy material. The Banks. decision held

    defense counsel reasonably relied on the prosecutor's assertion. that '~e prosecutor's files were
    opeil' and "there was no need for aformhl motion.'\ Banks arp. 692. See also. Stricker v. Gteene,
    527 U.S. 263, 283-284 (1999). Because of the stated Hopen tile'~ policies of the DistrictAttorn~y~s

    office,· Mr. Long's trial attorneys did not file a pre..tria! discovery motion. They relied upon the

    prosecutor's assurances that all· evidence cqllected had been disclosed to them at)d. that all

    evidentiary documents had been provided to them. In addition, the prosecution's ongoing failure to
    disclose the exculpatory test results p~evented Mr. Lo11g from raising this issue·~ part pfhis '987
    Motion :for Appropriate Relief.

            In addition, the results of the SBllahorato:ry analysis were divided into distinct and separate




•
    reports~ none of which. was disclosed to trial counseL   While the latent sliDe print ~g was testified
    to at trial by Examiner Mooneyt there was.no disJ~losure before or during the trial about an:y of the
    other evidence that was defivered to the SBl th!!, very same ll.ay~ leading Mr. Long's trial attorneys
    and the jurors to believe the .shoe print items ·Were the only evidence submitted for testing. In fact1

    when asked under oath at trial to name the items he took with him to the SBI on May 11. I 976~

    Detective Isenhour testified that he delivered MJ:.. Long's sl;toes~ -the inked impressions made :from
    those shoes the. day before and the latent lift he had found on the banister column of the victim's

    house. (frialTr. 264..265.) Deteetive!setihout did not mention any ofthe: o-th~r items he took tctthe

    SBithdt same day. Based on that testimony~ the jury and defense counsel were clearly lead to
    believe, that all ofthe other kno_wn evidence (thetcfbogg~.glo.ves.and the jacket) wa~ always in the
    possession· and control of Detective lsenhout. (frial Tr. 255~293 .)

            What Sgt. Taylor did nottell the jury was that the matches werealso.sentto the SBI~ leading

    them to believe the matches were nottested~ His testimony indicates he didn't match 1hem. He



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never told the jury tbe SBI could not Jn.atqh thern, Even.though he· stated they didn~t m.atch, his

omlssion of how he knew there was no match l<ept trial counsel frotn finding out that other items
were sent tQ the SBL Both fue testimony and the supposed ''open file discove.cy'" received by Mr.

Long's attorneys ~ed them to believe there was orilyo:n,etesfoonducted. Thist ofcourse:t was not
true.

          Had 'MI. Long's trial. attomeys been awa:re of :the     evid~nce   cqllected and known of the
favorable testresults, they would :have presented it, along with Mr. Long's alibi defense't at triaL 15
Not only would this evidence have helped Sl.tPPPrtthe alibi defense, it would have greatly aided the
defense's position that the victim was mist.aken.m her id.ent1fication gf:Mr. Long as the perpetrator.
It could also have been used to ·gUide the pre-triiil investigation .conducted by the trial. teatn.

          Taken together,the undisclosed SBire{»rts are powerful evi<:letnce supportive ofMr. Long's
~laim    of innocence. ·While each c1fthe test results corita~ material favorable to Mt. Long~ the hair
comparison is particularly poi~t in light, ofthe ~;s tesijmqny at triahegarding theattacker' s
~n      color .and in. light of the .()rangelre44ish ~. that can be seen in the tob:Jggan. The victim
described the attacker as ''light:-skinrie~"· '•yellow,"• ''notarealblackmlih."(TrialTr. 11, 122,31 0).

The SBI report iQdicates .~t the non-cau~~anhair found at the very spot in the home where ·she
was attacked      i~did   not :belong to ·Ronnie   Longt~;   the hair   w~   ''p<)ssibly negroid or   ~

(Mongolian)''; and i.lmore reddisht''than the hair'ofMr. Long. (Ex. 0.)      maddition to supporting Nfr.
Long~s alibJ    and calling into question th¢aoour.acy of the victim's identification~ the ·ha.ir analysis
report contained crucial information that could have led: tbedefens.e investigation to other possible

suspects who fit the description ofa "yellow-looking"' bl}lC:k; triax:n¥ith '~reddish hair?~ -a description

that clearly d0¢8 not fit Mr. Long.       This evidence: also .al!pports ,Mr. Long~ s .assertion tb.at the
toboggan was not his.




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•          The victim:.s testi.m:ony at trial established that she struggled and fought her attaCker in a
    violenfaud physical scene. (Trial Tr. 71~724 She also testified that she did not have oceasionto
    ''visitin the-hotnes ofblackpeoplet',or to have "btack:svisitiDg ui [her}home.'~ {Trial Tr. 132-33.)

           In light of her testimony that she ·did. not.inViteblack people into her home, it is reasonable to
    assume that·the·hair found at the base ofthe stairs ~l~mged•to her attaqker. It is al$Q a reasonable

    assumption that the attacker would have left hair behind on ·the victim or. her         clothing~    The
    undisclosed report establishes that the :hairfound at the scene did not belang to ,Mr. Long. {Ex. 0.)
    The report further establishes that none of Mr. Lon,g~s hair was found on the victim ~s clothiQ:g.

           The State alleged at trial that thepetpetratorirwearing blackg\oves and a blackleather}acket;
    entered the victim'l:s home by scaling the painted covered porch banister (where the shoe print was
    lifted) and crawling 'through an op~n secQ:nd story window. {rrial Tr. 277~79.)          The paint was
    described as Hbroken.:».(Trial Tr. 264.) None of theitern~;tak~n from !vir. Long containt}d&"ly traces
    ofthe paint or carpet   n&ers tak~n from the victim~s home.       When vic(wed.together with the lab
    reports, Mr. Long's black glovesandb.lackj.acketlookless like-the ''perpettat'Pr' s clothes~ and more
    like the African-American teenager '~style ofthe timesn that they were. (Trial Tr. 314-.3'15, 318~ 324,

    331-332.)

            Examin{!I' Mooney Wfl.S unable tQ conc1ud~tbat Mr. Long's shQeS were the same one~ that
    made the shoe track impression at ihe crime scene. Detective Isenbour,s incomplete testh:nony
    rega;rdin,g what evidence he took to the. SBI clearly left tbejury with the impression that the shoe
    print' was -the only piece of evidertee found at ,the .scene. That; cqupled with Officer Moon:eys
    testimony ibat· "State's Exhibit Nuttiber Thirteen. [latent lift] could have been made by Stateis
    Ex:hi\>its Fifteen..A or Fitleen:-.B (Mr. Long's shoes]" (Trial Tr. 29:7-98); makes the shoe track
    impression a much more pQwetful piece:of ~videnee than it would have been ifit had been coupled
    with all of the n~gativete.stresultstftat: were withheld by the State. In.addition to the misleading



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testimony elicited at trial, the prosecution's closing arguments were designed to leavejurors with the
mish~llding impression that tbe only physical tvidence found at the S<::ene was that latent shoe print

they clahned provided a physical link between :Mr~ Long and the crime.

       As the only party aware of the: evidence rltat was undisclose~ the prosecutor was respon~-:tole
for evaluating the c1unulativeeffect      ofth~   suppressed,evidence and bad a     d~ty to   learn O:f any
favorable evidence known to others acting on the government's behal:f. The-District Attorney's

office knew or .should have kn.own aboutthe existence: o.ftheSBI reports. They had a duty to learn
ofthem andto disclose themto the defense. The District Attorney failed to tum over the reportst and
even worse_, affirmatively ledthejll:t'y to believe at closing argument that they did·not exist.. The
testimony offered by the prosecution, when atleast one oftheinvenigatingofficersknew ofcontrary
evidence of which the defense was unaware, was false and mis[eading. Since Detective Isenho.ur, the
chief evidence coU¢e1:0rattd evidence custod~, knew that h~ had taken other physi¢.al evidence. to

the BBI for testing, the State is deeme<I under n:-rady to have had knowledge of that infonnationas
welL The prosecution was obligated to disclose this evidence.

        The proS;ecutiQn's failure to provide exculpatory evidence, v..ihich trial coJ.IDSel unequivocally
states would have heen brought to thejuty'sattention hadcollhSelknown:fu.enwhatwe bow now, is
a direct and abhorrent violation ofMt. Long,s constitutional rights that has resulted in actual
prejudice to Mr... Long.   It bas deprived him ofhis: oonstitutianal right to due process and ultimately it
.has deprived'him ofhls freed01:n, It is s:qbmitted that the, resultof'his tria! would have hyeJJ different
if this-exculpatory evidence had been made available to the defense and presented to the jmy,




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Br The Identification Evidence:

           Scientific research ~ow proves that iden:tifioatiort testimony is one of the most unreliable
types of evidence.16 The only direct evidence introduced at trial was the victim~ sidentificati<m of
Mr. .Lpng a~ her:artaeker~ Given that the attacker was a st.ra.nger to the victim, the Ul1disclosed lab
reports could have directlychaUe:nged.the accuracy ofth¢ideritifieation by the victim vvho said u.he's
tb~one"'.


           Nlan.y psychological research studies of erron~us con~victio-ns have shown that. mistaken
eyewitnes$ldentification is the singlelargest caus~ oferroneous convictions. 17 Professor Elizabeth
.Loftus; a renowned identification re~~her,.~v~red mher2004studyof eligibleJurors thatthey
failed to understand the unre1iabilityoffactors tbatinfluence·eyewit:rleSs identification.18 In l996,the
United States Dq>:artment of)ustice; Office. and the National Institute ofJustice rele~                       fi,. report

detailing 2Kcases in which individuals convicted ofvatious crimes w~te later exonerated by DNA
testing~    The report stated '~In the maJority QT the cases. given. the absence ofDNA evidence at the
trial, eyewitness testimony was the most compelling evidence. Clearly, however, those eyewitne$s
identifica~ons were wrong;'. 19 By 2000. attorney Barry. Sheck and his colleagues, with the, use of
DNA, identified •62 erroneQUsly convicted             citizens~   including eight whc l¥td been sentenced to
death?0A total of77 eyewitnesses had made confident but mistaken identification of 52 oftbe 62
unfort.unate in.diviouals. Unfortunately. in this. case, DNA evidence CJmnQ.t be locate<L




Ie Th.is·body of knowledge was not available at the time ofM,r. tong's trial not 'Wa$ most of it fivailable. at the time
  ofbi$ 1987 MAR bearing.
t? SEre there~nmoo list of~es included ~t tb~e.n.d ()tthi:s m~o~wl\ich setS· forth tb.e full referen.~ cites referred
  to inth.is secti{»l.
it See, LoftiJs,liToole &: EasterlY
    The~ is titl~ UConvicted tlyl~$~.Bx~p~l>y $ci~e: C• SAfdiesirrr,he Use ofDNA Evidenee.to
19

   Estzililish Innocence .A.fter Trial", Pub~ lJy ~¢United States.D.epanment ofJustice Office of JustiCe· Programs
   and the Natiooal Institute ofJristice•.
·ZD ~~.Sheck, Neufeld.&: Dwyer.




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                           Based upon information. undersigned counsel .has gathered .from two nationally prominent
               identification experts, Dr.,Gary \Veils o:flowa State University and Dr. Brian Cutler, formet!y the
               Chairman oftbe Department ofPsychologyat UNC~Chadotte (who has recently moved to Canada),
               there are a number of critical f11etors present ih this case which make the identification highly
               su,s..pect. The 'specific factors··:ate. as foll't>wsi

                           (A) The Courtroomidentifieation Procedure: C{)ntrolled studies indicate that when an
               investigator knows the identity of the Sllli1'ect, there is the possibility the investigator will advertently
               or inadvertently convey the susp~t'sidentity to the eyewitness. Cues from the investigator serve as
               a form of oonfunmtion f'ortbe eye-witness and create witness certainty~ 21 The North Carolma Actual
               Innocence Commission has adt>pted guidelines for linec-ups and photo arrays which. require thattbe
                individual conducting the idooti:fictltion pr<lcedure not know which member of the array is the
                !;Uspect. One of the recomme.miations released by the :t.nuooence.Comrrtissioncontains the following
                provisions:

                            b. Use an independent administrator. The individual co.niiucting the photo or live
                            lineup should be someone who does 'ntJt 'know whiCh member ofthe lineup is the
                            saspect When. it is not possible: to conduct a lineup with an iiu:lependent
                            irrvestigator~ the primary investigator fiti.IS.t exercise extreme caution to avoid
                            inadvertentsignaling to ·the witness ofthe Fcor:rect" respon$e. ,Teclmtllog.icai toQls,
                            such as computer progr{lms that can run photo lineups ami record witness
                            identifications 1t'ithout the pti!sence qf an investigator, may asS,ist agertc:ies with
                           resource constraints. Additionally, agencypersonnei can be trained to assist with
                           identifiCiltio'fl procedures... ti There sho:ulilnot becmyonepresent during the lineup
                           procedure who kn:ows the suspett'si:dtntity; except cou11Sel. a3 required by law.


                            Studies abo show that once an eyeWitness has identified someone, any further identification
                is likely t~> be reinforced by the first idetittficatiQn~,Pithas als<t been silo\\~ that rtten:lory decays with

                ll    ~.· e~,.• Bradfield &. Welf:si Cutler & Fi,sber; Cutler & Penrot:I; Malpass & Devitt~; and. Steblay, Dys~ Fuleto &
                     Lindsay. ·. . . · . .     ..·· ..      .    . .·.     .·.  .•
                     ~ ~·) Bflldfield & Wells,; Stel:Jlay>: l)~.FulerC,J. ~Lip.dsay; 'Mlrl Wagenaar: & IAftus.;
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    time and the longer between the time of the crime and the identification, the less reliable the
    identificationbe,comes.23


                     In this case, the initial identincationprocedl.lre in no way resembled tod:ay's best
    practices, such as $ose erabodioo:in the recent l~gislation.from tb~ 2007 North Carolina legislativ~
    session (Eyewitness Identification ReformAci) or those published by the Departmentof.Justice. 'The
    police did not use either a ca:re:fully crafte4 line-up or photo array prqcedlJ(e.                ~   essence, the
    courtroom identificati~n procedure ~· at'show-up~'. The police did not give clear instructions to

    the victim indicating that the per:pefi'atqr migllt not he pres·en.t in the courtfoo111. They also failed to
    use '':filler$~- other persons known, to be innocent butwho resemble·tile.perpetratorin physical
    appearance and who fit the initial description given by the vi9tim. Jnste,~d, the police utilized.a

    highly unusual and S\lggestive pro~dtl!e in an uncop.troUed er1vironment with great potential for



                     The victim did notidentify Mr. Longuntill5 days ~er the crime occurred? She
                                                                                                                    4


    was a8ked to go to court by the investigating officers, who told her they had reason to believe there
    might be spmel>ody in the oo.urtl:ltnxs:e she could recognize. She testified that in hermind she knew
    why she was asked tp gQ to court that day~ The victim was escorted to the courtholJSe on a day
    sele~ by the same investigating <;>ffic.ers.        She looked.ar®nd fot a lor1gtime- an hour to an hour
    and a half- but did not identify Mr. Long during thaf.entire time~ She testified there was no one in

    the courtroom who re~m:bled Mr. l..Qng, In fact, am:ongthe~s~so .people in the.courtr®m:thatday,
    only about t 2 were black an.d of those bla<;ks, the victim noticed several with ~(afros~' and one who

    ~     taU and srooped QVer.       Sgt~   taylQr and U. Vogl:er were $itting in the· jury box as the victim.
    iooked around the courtroom. Sgl Taylor observed where Mr. Long was sitting in the courtrootr4


    n ~:,Shapiro &'Penrod;
    14
                                   and  l<.rab.& ~nrod.
      The Court isrupectMly r~f'e,m,d to the Statemg:nt q,f'Facts a(pp. 9 tp 12 with regard to factual statements
     contained in this section of iiunnotion;




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and noticed thafhis father was .sittingbeside him. Sgt. Taylor was also observing the victim. The
investigatorsl sitting within the victim's purvicv;.Jcnew thatMr. Long waf) their prime suspect. It
was only when .Mr. Long's name was called and he approached the bench as a criminal defendant
that she pointed. him, out.


                Immediately thereafter at the p<>Hce·station, the victim Wa$ shown 6~8 photographs,
including one of f\.1r. Long.   That the victim identified    ~r.   Long from the photo array is not
surprising. She had justidentified him in court.   Further~ the photo array she was sho'V\Ill is suspect

She testified that one ofthe people in the p~oto arraY ~ppeared to be a woman. More iJnpo~tly,
.Mr. Long was the onlyperson.in the photo array Who w;s·wearing a leather jacket, the clothing she
described as being wom by her assailant. She testified that she· recognized Mr. Long 'because of the
"identicaln leatherjooket She also wavered in her testimony about whet:hetornof she had beerttold
the name of Mr. .Long before she $aw hi¢ J.n the courtroom or picked qut his photo. The
identification procedures used in this case not only fiy in 'the face ofproper procedures which are
necessary to protect ~me against being wrc;>ngly aec;us.ed ofa crime, they make it highly likely that the
victim's identification is erroneous:~

        (B)     Cross Racial Identificati(Jn.:      Experimen~      have confirmed that cross-racial
, identification i$ one of the lPJ)St unreliable. Researchers have concluded, across aU    studies~   that
witnesses are. more likely to correctly id~nti:fy s9meone from their own race, while· witnesses are
more likely to falsely identify som~one from a different race. 25

        The victim"'s initiiil description to the police does not match Mr. Long. There was no
descri_ption of facial features~ facial hair or skin color other~ "blackn. However, at trial~. victim
testified the perpetrator? s complexion Wll$ "yeUowlopk:ing,.; as opposed to ~'a real blue black mann.
 (Trial TL 11, 122) Sll.e also t~fied th:;it when she ideJ}1):fied Mr. Long in the courtroom he .had




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                                           ........................,   ________________________
•   facial hair and was wearing a leather jacket. Then, IS minutes-later,. at the police station she was
    presented a photo array £:Qntaining a picfi,lre of ~fr..Long with facial hair and wearing a leather
    jacket Clearly, the victim matched wbat . she observed about Mr. Long during the courtroom
    identification with the picture ofhim in the-photo array, and. for the first time., at trial~ she said the
    perpetrator mtd- facial ~.

            Tile victim admitted she never visited in bl:lCk people's holl)es (Trial Tr. 130,.131); di.d not
    ever have black people ever visit in her home (Trial Tr. 131); and said she did not know very mimy
    black people and did not _have ml1Ch                ex,p~en.ce        'with them (Trial Tr.   131~133}.   In view of the
    scientific studies proving the unreliability ofcrqss-racial identifications, itis likcly this victim made
    an erroneous identification.

            (C). Confidence & AcclU"acy; Research, detnonstrates that ·witness confidence, though
    believed by laypeople to be strQngly predjctive ofthe accuracy ofeyewitnessidentifica~ions; is not a
    strong predictor of id.en:ttiication accu,racy?·6 The studies show that . .suggestive identification
    procedures actyallyint;r~ the witness 1 q:o:trfi4~ntfe leveland cause it to 'become inflat~ regardless
    of accuracy. After making an identification, the physical loo-k of the- person identified tends to
    ~"become'"   the witness,smenll)ry ofthe pen;pn~

            In this   case~   the victitn t~ified cortfidentty many t~ ·t1Jat she was po~itive about her

    identification. It was 15 dayS after 'the crime ·that she made her identifieation ofMt. Long in the
    courtroom, followed l5 minutes late:tbyaphoto may contabring :M:r~ LQng"s picture. Additional
    bolstering occurred when .--she·- p~~ him out ill the cou.rtroom at the triaL Given the- events
    surrounding her identificationst it is not surprising the victim became confident that she bad pick~
    th.e "right)? triaD; and that Mr. Long wa$J indee~ f®. p~tpettator. Jtven though her description qftb.e


    u ·see, e.g., Sporer &Penrod; Wetis; CUtter, Penrod&. Maitens;Cutter&·Penrqd; O;Routke& Penrod; and·l4ftus
      &O•Toole.



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                                    ..................................   _______________________

•   p~rpetrator did not inclu9-e, hlm havit'lg fa¢itil hair, once she identifled}Vfr. Lenig, who hadfaqial hair~
    her {,iescdption changed and hi~ physicalapp¢arallc~ 4 'became"' hermf3mOry;. The studies show that
    a victim ~s ~~ertamtY' has little, if any, probative value.


            (D) Stress Experienced by Witness: Eyewitnesses claim that ememe stress* experiented

    as the resUlt of an excessively violentcrime,_heighte11S and :fooilitates their·"'accurate' memory. In

    stark con~ research sh<>ws that extreme stress has a dehilitat1ve effect and negative impact on
    identification accuracy.~7 Here, the Vic:tim was undet a tremendous                    amount of stress duritlg the
    attack~ She testified ''I was so frightened J couldn~tstand it" (!'rial Tr. 6~ 9; 12~ 13, 42~ 44, 116) and

    that she '~had no idea I'd ever get out alive~ \Ttialtr. 13~ 16~ 42~ 116). Given. that the victim              w.as
    undera·tremeridoti.s runount ofsttess dut.ingthe crime, that stress was likely to have a signifi<tant and
    detrimental effecton the accttracy afher identification.


            (E) Weapon Focus: There ate many studies indicating that when a weapon. is present



•   during the crime, the weapon_ draws the victim's attention away from the ,{'e.tpetratoes
    cbaracteristicst and creates a greater potential for mistakes inidentificirtion. 2s The :victim testified

    the perpetrator ~~put a knife at:my-.throatbefote be thtewme do:wn [on the floorofthe deD.]'i (Trial Tr,
    9, 40,73, 113) ru1d toldherifshe did not stop screaming, nhetd cut my throat" (Trial Tr. 9) 40, 69,

    73). She described the knife as bein,g 5...6 incbeslong, and.thatme shiny blade was all·she saw (Trial
    Tr. 75;,;76). She testified sh_efelfit in her throat and was terrified (Trial Tr. 76). All oftlili; suggests
    the victim was focused ort.the knife !llld not on :the perpetratot1s face.

            (:F) .Hairline Cue§:                 Studies show that eyewitnesses are more likely to make false

    identifications when attempting to identify perpetrators who wore hats?9 'The victim described the

    perpetrator a$ wearing a darktob<)ggan that was HpUJ.lea ddWll()V~this'earS'~ but claimed :the hat did


    ~ See, Q, Defreribaohet& :Somstein;. Morgan & liazlett; Cutlet & Penrod; andLoft:LtS & O'Toole.
     1


    zs · See, y., Steblay; o~.Rouike&Penrod; Cutlet & Pen.rOd;, and Loftus & O'Toole.
    29
        See. e~g.. Cutler & Penrod; and Cutler, Penrod & Martens•




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not obscure the face. (Trial Tr. 10). However, she also testified that she could only see the ~'vvhites
ofhiseye.s·underneath~'thehat          (FdalTr.12). Cleatly,·the toboggan:obscured>theperpetratot S face·       3




end mad~ M acctttate identification difficult. ifnot impossible~

         · In 1984t Jennifer Thompsotr was raped at knitepoin.t. In an article sbe wrote for the New

York Times entitled I Was Certain, But I Was Wrong~ 1l Y.                Times~   1Ul1e 1.8. 2000, M::>. Thompson

wrote of her experience:

                    I studied. every single detail qn. the .rapist1s face. I looked at his
                    hairline; I looked for scars, for tattoos. for anything that would help
                    me identify him. When and if I survived the attack~ I was going to
                    make sure that he was put in prison and he was going to ro-L

           In a photo spread      and:~ }at~r,   a lineu.p, ?Vh.· Thonfpson identified Romild Cotton as her
attacker. She wrote~ !'I knew thiS was the man. I was completely confident. l was sure.n                  Id~   Later,
when another Jl'lal:4 Bobby Pooiet was aUeged to have chtin.ted that he raped Ms. Thompso~ Mr.
Poole was brought. to Ms. Thompson; who told p(!lice, "I have never seen him in my life. Ibave no
idea who he is. •• Id. Eleven years after her rape~ howevert DNA testing proved that Bobby Poole~
and not Ronald Cott()~ had raped Jt::nnifer Thompsoa


                    In summarY~ be,<:ause "there. is nothingmore~nyincit:J.gthan alive human being who
takeS the stan~ points a :fmger atthe defendan4 and says, 'That's the one!~nr \Valkinsv. Sowden>, 449
U.S; 341, 352 (Bretman,J~, dissenting), therevanP81ittle doubtth~t fhis evid~nce carried eno,rmous
weight with the jury?0 The identification procedures usedin·tbis case were highly irregUlar and
woUld notpass muster tmder to®y;s standat""d.s. The victim's eyewitness identificati9n testimony is
ofquestionable: reliability inlight ofsigulllC$)tscientinc research. and is directly contradicted. by the
~vidence withheld fro01 tb.e defense.         There c~be ttO confidence in the ve~dict rendered in this case.

      Se~ e.g.. ~~ ~g that n[t]oJurors.:.~ctl ~ ey.~wi1Jless bas picked out t.he defendan4 that evidence
30

                                                                                          an
     dictates a ~h:y verdier;; Scliedc. N(!'uf~Id & [)wyet; ~d Loftus {estimating that half of wrongful convictions
     are .caused. by ~·:ey~ssi~entifi<~atian);               ·



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    The suppression offavorable evidence critical to the defense deprived Mr. Long ofthethlrttialhe. is
    guaranteed under the constituti.ans ofbotb the United State~ and North Carolina. His conviction
    should be vacated.

    2.      N'ew·evid.ence is available whlch. was un!mown.or unavailable to the. defendant at the
            time oftriaJ; which could.n,ofwJtb ~u.e. diljgenee have beeJI diseov~red at that time and
            which has a directan.d material bearing upon Mr~ Long}s guilt or imtoeence..

            As described above, at the time ofhi.s 1987 state'petition for post~convicti(m relief, Mr. Long

    was not ina position to raise the claims presented by this motion due to the State~s failure to disclose

    the exculpatory evidence in its:possessi:oninviolation ofthe $th and 14m Amendments to the United
    States ConstitutionandArticle l, Section 19 oftheNorthCarolinaConstitution. N~C. Gen. Stat.§

    1S:A,.l415(c}permits a defendant,.at anytime after verdict,·to move· for ~propriate relief on. the
    grq1md ~'that. evidence is available which was unknown or unavailable to the defendant at the time of
    trial, which could not withdu.e diligence have be~ discovered or made available att.1tat time ...• and
    which has a direct andmat~riai bearin:g upon •.•. the defendailt1s guilt or innocence"'• N.C. Gen. Stat
    § 15A-1415(c) (2007).


            In order to prevail upon a motion for appropriate relief on . the ground of newly .discovered
    evidence, a defe!,ldant.mus.t establish: (1) that the witness or witnesses will give newly discovered
    evidence;(2) thatS'uch newly discovered evidence is probably true; (3) that it is competent, material
    and relevant; (4) that due dili~ence was used and propel' means were employed to procure the
    testimony at tri~:tl; (5) that the n~Wly discovereQ..evidence.is not merely cm:n:uJative; (6) tha:t it.does
    not tend omy to contradict a former witness or to impeach: ot discredith.im; and(7} thatitis of such a
    nature as to show that-on another trial a differentresultwill ptobablybe.reached and that the right
    will prevail. N.C. Gen. Stat.§l$A.. i415(c.}(2-0o7).;Sta.tev.Brltt, 12.0NC 705 1 712-13,360 S.E.2d
    660 {1987); State v~ Stukes. 153 N.C. App. 770, 57iS:E.2d 241 (2001). The decision whether to
    grant a new trialin a criminal case on the .ground of newlydiscO'Vered evidence i$ witlrin th:e: trial
    court's discretion and is not subjeCt tO. review absent ~:r.showmg o:fan abuse of discretion. State v.


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•   Wiggins, 3:34N.C. 18,431 S.E.2d 755(1993); Statev.Sttilces~ 153 N.C. App. TiO, 571 S.E~2d241

    (2002).


              In State v~ Jones, 296 N.C. 75i24~ S.E2d 858 (1978); the Sup:reme Court granted the

    defendant a new trial based on the State;s fail11re to provide an SBI report           with   potentially

    exculpatory mat~rlal. The States evid¢nce at trial eo!l$isted offue. testimony ofthe victim. and the

    testimony ofU:e ar.resting officer who .said he noted the odor of kerosene when speaking with the
    defendant. The defendant's clothing wasa:na1yzeq by the SBI for the presence ofkerosen.e or other
    flammables which were found to be absent. The Jone:s Court coosid~red the foUowirig factors in

    holding ~at the 8]31 report l'lad a direct ~dma,.terial bearing on the. defendant's guilt or innocence:

              L      both the defenda.nfs version ofthe events and the State's version were believable ott
                     their face.;

              2.     the credibilityofthe victim\s·testimonywas bolstered by the arresting officer's
                     testimony;



•             l.

              4.
                     the SBlreport could tend   to show the arresting, officer was n1istaken;
                     the SBI re:portcould undercut the credibility ofthe only eviden.ce upon which the
                     defendant was e:onvicte(t


              Applyfugthestatutory f.actotspresenthere; the 8Blreports wcrerlotavailableto Mrc. Long at

    the tifue ofhls triaLand were only di8c9vered thirty-one years later; The due diligence element is
    satisfied.in that Mr. ·Long and. hlsattom~ys,teaso.nably relj.ed,on the State·"srepres.entation.that they
    provided "open file'' discovery. In13anks -v~ Dretke, 540 U.S. 66$, 695 (2004), the UnitedStates

    Supreme Court stated:

                     In light of the State~~ ()pen fil~ poijcy . ·~ . <itt$ e.$pe¢ia~.ly unlikely
                     that counsel woUld have sus,pectedthat additional impeadrlng evidence
                     was being withhel<i' ·Oqr declsioliS lend no. support to the notion that
                     defendants trittSt scavenge for ·blnts oftindisc1osed Brady material
                     when the pros'¢cution represents tb:a;t: all such material•has .been disclosed.
                     As we obser'V¢ in. ~tricklq~ de(et15e ccn~fiel has no p~u~ ()bligatipn
                     to .assert constitutional error on the. basis ofmere suspicion that some



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                prosecutorl;d mi.~t~p may have occurred .. ~ The Stat~ here nevertheless
                w;ge~   in effect, that the prosecutiOn can lie and coneeaL and the prisoner
                ~till has the bUl"den tom . discover.thyevicl~~ce~ so.longas the potenti~
                existence of a prosecutor:W misconduct claim. might have been detected~
                A rule thus declaring prosecutQt;' .maY hlde, defenf.iant must seek, is not
                tenable in a systen1 constitutionaJly bound to accord defendants
                due process.'")Banlcs at 695.


         The newly discovered. evidence - testing. conducted by the $BI - is ~~probal)Jy true''. See,

 State v. Acklin, 317 N.C.    ·577~   346 S.E.2d 481 (19&6) (stating that S:BI lab reports contained
 adequate assurances of trustworthines~ ~given tbe impartiality of the SBI chemists, and right to

 examine and cross examine witnesses for pwposes of admissibility under Rule 803(c))~


         The SBI reports are competen4 mat~al and relevant to this: ·case: The credibility of the

 victim's testimpny ·was supported by little physipal evidence. The SBI reports ·undercut the
 c;redibility ofthat fWiden(;e. Not only do the $Blreports. tend to contradict the victim but that

 evidence is of high probative v~ue as it is exculpatory in nature.

         Tbe newly disoov~red SBI reports a.re notmerelycumul#tive~ They analyze critical evidence
 collected at the crime scene that exclude-s ]vfr.U>ng as a    suspect While ·trial cQ;uns~l presented
 testilnony supporting Mr. Long,s alibi defens~~ the SBl.repons demonstrate ~tMr. Long was not
 present at the sceneof the crime. The undisclosed SBlreports tend to show that the victim was
 mistaken .in her identific£tti.on. Tbe SBl reports .are material and relevant in that they contain.
 exculpatory evidence that,. hadjtbeen available atthe time of trial~ woule;thave been used in support
 ofMr. Lol:lg'"s alibi ~fen,se and as evidenc4} :that the victbnw.as:mistakeJ:l in her i4entification ofMr,.
 Lo~g   as her attacker. Finally, the reports are of such. a nature as to show that at another trial a
 different .result wiUpr<;)bably be reaehedcand that~ right verdict will prevail.

 3~       Mr.. Lo•il'$ -Juclgments and COmmitments sb.ould be corrected and amended to
  speeifieaUy state that Mr~ L6)lgshan~~ itJlprisoJ:ted itlt- a t~(Dl of80 years in the S~te"·s prison~
  in accordance With N~C. Gen. Stat, ·§ 14,..2 whiCh was in meet on both the date of the offense
· (Apri125, 1976) and at the tiJne tbathe was senten~ (October l, 1976)..




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•          Should .the CQurt deny Mr. Long's ·reql]est for relie:funder parts I. & 2 of this motio.n~ his
    J11d:gments and Com~tments (collective)y; Ex. U}should beoorrect(;!d and amended tQ specifically
    state that his term of imprironment is 80 years~ the statutory definition ofa ulife sentence·· _under
    N.C. Gen. Stat §14-2 at the time he wa5 ·sentenced iri October ofl976. At present, his Judgments

    and Commitments state thathls sentence is ''life imprison.rnent'' and the Department of Correction
    (DOC) has.not distinguished between his life sentence (of SO years) and a lifesentenee undertodaf s
    Structured Sentencing Law (natural life) forpmposes of calculating a projected release date.

                    A.      The dea.r and unambigutnls language of N.C. Gen.. Stat § 14~2
                            requires· ·that. Mr.. Longs' eoo~teat· s¢tttenc.es be amended to· a
                             term> ofbnp.dson:ment of eigbty (30) years.       ·


           M:r.   Long~s   Judgments and Com.tliitmen.ts should be amended to reflect a sentence of
    imprisonment of eighty years in accordance with the clear l:ru.-\guage ofN.C. Gen. Stat..§ 14.-2 which
    was in effect on April25, 1976, the date of the: offense and at the· time that he was sentenced on
•   October 1,1976. According to :the Editor's Note in the 1977Cumulative Supplemenl: prior to AprilS,
    1974, N.C. Oen. Stat.§ 1+2 :teadasfollow$:

           Every person who shallhe convicted <?fanyfelony fo:rv..tichno specific punishmentis
           prescribed by statute s:baU be ·p1lili®able l>y fine, by .irn.prisom:nen.t for a term not
                                          m
           exceeding lO years~ tit both,c the diScretion ofthe court.

    See Exhibit V{Editor~s llote!J N.C~ Gen; Stat§ 14-2 (1977 Cum. Supp.)). fu 19731 the Legislature

    amended N.C. Gen. St~ § 1+2 bych£!ngin.g~e word "'punis~le'' to ,.~unishexf" and by addhtgthis

    second ~levant sentenc.e:

           .A sentence ofiifo imprlsonmeril shall be consideredasasimlence ofimprisortment for
           a term of8fJyearsJtt the·&ate ·s prisofl:. (emphasis added)




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-·   See Ex. W(SessionLawsl973,cb.T20l, § 6);seeal'soExbibitV; N~c.oen:.stat~ § l+2(l977Cum.
     Supp.). The amendmentto § 14-2 became ,effective onApri18,1974 and was applicable to aU offenses
     cQ:tlmlitted. th~reaftcr. See Exhibit W (Session LaW's 1973, .cJL 1201, § 8).

               The eighty year statutory term for a life sentence remained in effect until July 1, 1978 when the
     above provision was deleted by the legi.sla~e? 1 Although Sessionl.awsl977) eh. 711 § 39 indicates
     that it applies ''without regard •to wflen a defendant's guilt was established or when Judgment was
     entered against him~'~· to retroactively apply the· removal of the eighty;..year life term. would ·be a clear
     violation of tbe constitutional prohibitions against enactment of ex post facto laws. ,See, State v.
     Robinson.335NC 146) l47(l99l)fquotmgU.S. Cons., Art:~§ 10; N.C, Const. art. I§ 16; andCal.det
     ''· Bull. .JlJ.S.. 386, 1 L. Ed. 648 (1798}.. The,goaJ ofthe statue was-to set the length ofa life sentence
     in-a speeific tenn of yeats,. to wit, &O<years; Mr. Longis entitled to avail himself oft,hi,s statue which
     was in effectVvilen.the was sentenced in 1976.




•              It is well established that the intento:fthe legislature coi.ltr'ols the interpretation of a criminal
     statute, Statev. Hearst 356 N.C.132" 567S.E.2dJ24 (1002); Statev.llmt287N.C. 76,213 S.E.ld
     291 (197 5)~   ~'The legislative intent ofastattttemayfitst be,ascerttfu:ied through examining thelanguage

     of the statute, and then by examining the statute's legislative bisiory, the.spirit ofthe statute~ and the
     goal that the statute seeks to accomplish/' State v, Jones. 358 N.C~ 473, 479, .598 S.E.2d 125, 129
     (2004).

               When the lan.guage of a statUte is clear .an& Un.ambiguous, there is no ro<ml for Judicial
     construction.. The courts.mustgive tbe sta.;ute.itsptair!•and~definite·meaniilg, and are 'Without ptiwerto
     intetp<;late or superinlposeptovisi().ns and Jitnitatioris oot oontained th,¢rcla State v~·ca.rn,p. 286 N.C.
     148., 209 S.Ji2d 754 (1974).ltis' an elementary ruJ.ethatac.tiritinal statute must be striCtly ¢0ti$tnled,
     and any doubt on this point Will be resohiedinfavor ofthe deforidant. State v. Hill~ 272 N.G, 439~ 158

     ll   See Ex. X.S~ionLawsl917. ca 111. §§15&:39.




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                                                               ·······································-··---------------




.S.E.2d 329 {1968) (empha.sis a{lded).   ~1t iS the General Assei1lbly·wllich is to define crimes   and ordain
their punishment.h Id. at 443, 158 S.E.2d at 332 (~itation omitted).

        The language ofN.C.Gen. Stat. § ·14-2 isc;tystal clear and unambiguous.        Th~ is no· room for

judi:(;i(ll construction and this Court is required to give tllestatute its plain and definite meanfug, i.e.,
this Court should find that Mr~ Long is ·¢ntitled to ~ am.ep;drne~t ofbis Judgme11ts andComrnitments
to reflect a specific term ofitnprisonmento.feighty years. .

        The language ofN.C. Gen. Stat § 14-2 ..is not only clear and unambiguous" it is also mandatory.
 It states that '~[a] sentence oflife imprisonment shan beeonsid~ereda.s a sentence ofimprisonment fora
tetmof80 years in the St.ate'sprison.'' Ordinarily, the words "musf, and ''shall",. as used in a statute,
are deemed to indicate a legiSlative inW.iltto mfi:ke the provision df>fue.statttte mandatory, and a
failure to observe, ids fatal to the validity oftbep·utported action. State v. BQSt:On. 165 N.C. App.
214, 598 S.E.2d 163 (2004). In State v. Hottse,_295N;C; 189~244 S.E.2d 654 (197&). the North

Carolina Supreme Court stated:

        In deten:nining the ~tory or directory nature of a statute, the importance of the
        provision involved may be t~ken into q.oqside~ation. GenentllY spealcing, those
        provisions which area mere matter offc)nn, or which are riot material~ do not affect
        any substantial right, and -do nat ~late to the essence ofthe thing to be done so that
        compliance is a .matter of col)\renience ra,ther than substallc;e, are considered to be
        directory .'f' To the same effec4 see: 32 C.J.S., Statutes~ §§ 376; 380; 12 Strong~ N ;C.
        Index 3d~ Statutes, § 5.3.

Id at 203, 244 S~E.2d at 661~62 (quoting 7-3 'Am~ Jur. 2d, Statutes, § 19),

         fu addition to. thecrearand rmambigubu5 language o(the ~pplicable statute~ tlie North Carolina

Supreme Court has used the       ~tu.tocy eigl:tty~yet¢ f~Wl. to caic~ate   an inmateJs tptal sentence for
purptises ofapplyingjflil cr~t.ln State v~ Ric~on, 295 NC 3 ()9~ 118 (1978) f4e Sup~me Court
usedth:eeighty~yearlifeten:ntocalcu1atethedden,dant'stota1sentenceforptll'p0sesofd~iningjail

credit 1be d~fendant iriRiphar@l~iyed.tfu,e~ cqnseeutive sente.nces: a life senteooeforr~;·tert


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years for felony breaking and ·entering~ ·and ten years ft)rCJ.'irne againstnafure. The S\ipreme Court
applied N.C. Gen. StaL § 14-2 and concluded that "defendant received one sentence of 100 yeats for
purposes. ofdetermiriing credit for pre-conviction i..nearc.eration.n !d. Liket.V:ise) in State. v. Williams.
295 NC 655 {1978), the Supreme Court used the eighty~year·Ufe tem1 in N.C. Gen. Stat §14~2 to
calculate a defendant"s total sentence for purposes ofevalu.ating .his claim that the sentence imposed
upon hhn co~·tituted cruel and u:rtusual pl.mishment.

        In the. case .at bar: the use ·of the word ~Asball"' indicates the LegislatUre's intent to. make

N.C.G..S. §14..2 mandatory. To interpret the statute in ..question .here other than to require the

imposition of a specific sentence ofi:tnprisonmentfor a term ofeightyyears would be to ignore tbe
express language and obvious intent ofthe sta.tut~. Furtnermqre; it affects a substantial right ofJVfr.
Long' st i.e. , tberightto have his sentence considered·£tS.aterrtl of eighty years, thetebyrequiring the

Department ofCorrectionsto calculate a. projectedrelease datefor him. Thedirecttve.ofthls stafu.te
is .not a matter of convenience.tatherthansubstance. Anydoubt on this point must be reso!Vedin:M:r.
Long's favor. HisJudgmentS arerequired.tobe amended.toreflect a specific tem.i. ofimprisonmentof
eighty years. Only then will Mr. Long's Judgments and··Commitments be in compliance with the plain

and·definite meaning ofN~e. Oen; Stat. ·~ 14:·2 and the attendant case law of this state~



                 B.          The p.rovbion ofN.C. Gen. Stat. § J.4,..2 which requires a lift ·sentence tribe
considered as an eigbty~yeat.term ttf iinprisonmeot ~oes: not relate to parole eligibility.

        The amendment of N:C•. Gen. Stat § 144:· in         1974~   adding the sentence that a life sentence
              '                                                           .


"shall be considere<l ~ a sentence ·Ofimprlsontllent t'ot a      term of 80 years~·, should not be seen as
relating to parole provisions. This am.en:dment was ·nQt rc:.qu.ired in Qtder· to aive any parole statute
effect N.C. Oen. Stat.§ 148..58 suiliciendyand$p00inca1lycovered the tt-1rt1S ofparote eligibilitY and
no :further provision was necessary,, especially in the unrelated ~'General Provisions~) subchapter of
Chapter 14.


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•           Acc()rdingto·thedeclsit>ninCarverv~ Carver, 3lON.C. 669,674,314 S.£.2d739, 742(1984),

    only statutes which are applicable to the sarrte. mattet are to be "constru.ed together in orderto ascertain
    legislative intent "'The parzy1e .statutes are found in-.Article 4, ''Parolesnin. Chapter 148 entitled ~·state
    Prison System. "" N.C. Gen. Stat. §<l4..2isfound'in.Article 1, ''Felon:iesandMisdemeanors;•~ contained
    within Subchapter 1, «GeneralProvisionst in Chapter 14, ~'C:timinal Law~ t' Thus, N.C. Gen., Stat §
    14-2 should not be consid¢~ by this 'Court a;s a duplication Qf the parole statute in deternrining the
    legislative intent Such duplication is completely unn.ecessruy. The parole .statutes are not ~'in pari
    materia",. Le., they certainly do notrelate to the same matter or 5tlbject at issue in this ease. See Ca:rver,
    31 ON.G. at674. 314 S.E.2d at 742. The purpo:se oftheenactm(:ntofth.e parole statute, N.C. Gea Stat
    § 148;.;58, \\tas to specifically set outthe period .ofimprisonrnent \¥hieh. a defendant sentenced.to life
    imprisontnefit was to serve before bemg~idered for the privilege ofparole. On tbl!<otber hand, the

    purpose ofenacting N.C. Gen. Stat.. § 14.2 was to set out the precis~ pl;nli$hrne1lts qffelonie&. In fayt
    the title sentence of N.C. Gen•. Stat. § 14-'2 is ''PtJP..i.shmentq{felonies: wha.tooJJ..~titute$, life sentence/'



•   while the title sentence of the parole statute, N.C. C1en. Stat § 148·58~ is ''~Time of eligibility of
    prisonerS to have cases considered.» See Exhibits V & Y. These are two entirely differ:entmatter$ and
    are in no way related. 'therefore, they should not be considered together in determining: thelegislative
    intent in this case.


            The clear, unambiguous, and 1nandatory language ofN..:C. Gen. Stat. § 14~2. states ¢'what
    constitutes life sentence'' and thatis "a term ofSOyears in the State<tsprison." Mr. Long is entitled,
    as a<matter of mandatozy law, to have his sentence converted to an-80 year te:mt To deny this relief
    to Mr. Long wou.ld be to ignore the plain and definite meaning of the statute and contravenes
    legislative intent.

    4..      The set.ttenee impos~d f»l-Mr. Long is invalid as· a            matt~r                of lawdne to significant
    ~hanges   in North Carolina's' se:n,ten~in.g law.




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       Under the lawsin effeet afthe time of Mr•. Long•s- convictio~ the sentences imposed on him
for frrst degree rape and burglary exceed the maximum sentenc~ he could have received for tho$C
charges under the StructUred Sentencing Act of 1994. ( the ''Structured Sentenci:ng Act").. On
October 1~.·1976, Mr. Long\>vas ~enteneed to twq concurrent terms ofimprisonmcnt Hfor th:e>res:t of
his natural life). (Ex. U.)    :M:r· Long has now been in continuous cu$tociy for over 32 ye~s~     In
contrast, under the:Stmctured·Sentcilcing Act, the longest sentence Mr. Long cou.ld·r~ive on the

rape charge v.tith his Prior Record Level II is impris<:mment forJ60 months (30 y~) to 441.montbs
(36years and I month} Fo:rfue·burglaryCharge.atPriorRecord Levef'fltbe longe.stserttence Mr.
Long could receive is.ilnprisonrnentfor 95·months(7 years and 11 months) to 123 months (l 0 years
·and 3 months). In Short'} with the concummtsemencess: Me Long has<already been imprisoned for
alntoSt as lorig as1 if not longer, than he could possibly serve under the Structured Sentencing Act

       Wb.en the General      Assembly enacted tht~<Sttuctitred Sentencing Act, it determined ~t the
appropriate sentences •for rape a,nd burglary were sribstantially leSs than the life sentence Mr. Long
received. More specifically(!' it determined that an individual at 'Mr. Long's Pdor Record Level
should not be sentenced to life imprisonmenl fot the crimes of which he was convicted. In other
words, tbe Structured Sentencing Act serves as anauthorlnttive yardstick of proportionality for
sentence~in.Norlh Carolina.     The enactmentofth~Structured Sen.tencing Act shows tb.atasam;atter
of~'evoJving standards of decency'~ Ul'lder the   Eighth Amendment, Trop v. Dulles. 356 U.S. 100
(1958), Mr. Long's contin'll¢d incar®r.ation ~der a sentence· oflif'e hnprisomnent is grossly
disproportionate to the maxitni:ml sentenoo·he cowd.reeeive ~oday~

        Four major decisions. t)ytheU~tedS~tes S11p~me Court,:~port Mr. Long~ s position~ 1:n
Lockyear v. Andrade. 538 U.S. 63 (2f}Q3)~ antfEwing v. California 538 U.S. 11 (2003), theSupreme
Courtaclhered to itstraditioi.l1\l precede!ttrequiringootms to ~nsidetEighthAmendmentchallenges
of non..capital sentences on a pa8e->Qy..case basis. See also State v. Todd, 31.3 N.C.ll 0, 326 S..E.2d
249· (1985); State v~ Garci~ 309 :r•tC. 7SO~ 309 S..E2d436 (19:83); State v~ Parks. 146 N~C. App.


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•   5 68,. 553 S.E.2d 695 (2{)0 l) (stating that a trial j¢ge has authority to decide yvhether a particular

    sentence in a particular case complies with the Eighth Amendm.ent).

             InRoper v. Simmons, 543 U.S. 551) 561          (2005)~   the U.S. Supreme Court relied   on itS
    landmark decision ofTrop v. '[)uUe~ in explaining that it is ne~sa:ry to refer to "'evQlvmg standards
    ofdec.en-cy' to detemiine whether a punishment isS() disproportionate~ to be ·cruel and unusual.·~ lrl
    Roper, the Supreme Court uSed legislative ·enactments as. objective evidence of such evolving
    standards of decency. Roper al$o shows that a sentence that~ valid under the law in effect at the
    time it was i~posed may subsequently be deemed constitutionally invalid dueto evolving standards

    ofdecency. The murder at· issue in Roper was colmnitt.ed by a 17-year-old .defendant in 1993. At

    tile time he was convicted. ~d sentenced to death 1n 1994, Stanf<>rd v, Kentuc~., 492 U:S. 361
    (1989), provided that the Eighth Amendment did notprohibitthe execution ofadefendailt who was
    betv.r.een 16 and 18 yearS old at the time of the 'lliUider. Nevertheless,: in Roper" the Supreme Court
    held 'that as a result of -evolvirig $taridards of decency between 1994 and 2005, the Eighth
•   Amendment no longer permitted Ropee s death sentence.

            This Court should notethatoh the basis of Roper:. Superior Courts in North Carolina in at

    least twt> cases have granted motions for apptoprlate·reliefto vacate death sentencesfor defendants
    who were younger than 18 at the time oftll~ir crimes,, even though those cases had become final.
    State v .. Golphin. 97 Cl{.S 041312 (Super. Ct. CUlllbeiland County(Year)) (Mot. for Appropriate
    Relief~d        on December 12, 2005); and State v. Adams, 88 CRS 010457 (Super~ Ct. Iredell
    County (Year)} {Mot. for Appropriate: Relief~ on May ·9y 2005).

             As in Row. _legjslt\tion - in this   case, the enactment of the Structured Sentencing Act ~
    serves as an objective index-of~e evqlving standat'd,s ofQ.e~cytelevant to this ease. li1li@t offhe
    StructtLred Sentencing Act~ Mr. Long~s life sentence is now grossly disproportionate to the offense
    and~   the:refore:t his continued custody under tllat ientenoe violates the Eighth Amendment. Mr.




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    Long's ~976 life sentences shoUld be va~ and he ,' .onld 'be ie-"Settt!mced to a. term mat is
    propott.ionate.to the~ senten.ce herould.recel'v,; under the Structured Sentencing Act, and
    fur a term ofincaroomtion no gteater than the time he baS aheady served

            This. Court bas the authority tore-sentence l\1r.l,ong~ Under N.C. ,Gen. S~. §l5A... 1415(b)

    (8)~ a superi£lr   court judge. has authority to ~t a motion fl)rrappropriafe relief on the grpmtd tba.t··
    lt.ftJbe sootenee imposed .. ~is 9fue..TWi.i;emvalid •fiS a matter of law." N~C. (rea Stat §l5A-I415(b)
    {3)(2007).   maddition,. §1415{b){1) gives .&·superior court judgethe authority to gmnt amotion for
    appropriate reUefift'[t]hetehas: been a·sigmfieanfcbange in the law • ~ . and retroaclive application
    of the standard is ~uired}" N.C.         Gen~   Stat.   §i5A.-.141S.(b)(~   {200?). .Mr.   Long~s   sentence is
    in:v1}lld as· a matter of~w mthat it is gro$slyd.igproportionate to th~ maxi,T.Oum, sentence he could
    req;:ive today and as such is 'Violative of the 8th Amendment prohibition against t~cruei and unusual
    p'Ullishment."' '1\(r. Long,s $ell~nce sl't..:ol:dd be recalculated in acoprdance with the StnJctured
    -sm:ttenclng Act



            Mr. Long liDS ·nem deprived far t)Vet thirty O!le years: of hils ~tutional rights due tQ ··til¢
    vvitbhtilding of exculpatozy evi~ by th~ Conoord Ponce Department and the DistriCt Atromey,'s
    office. He basclalmed bis.~ooe ftom:~e.~ of this ~auer. ff:isfamily bas stood behfudJrim
    fur over 31 ,years, It is l~g past 'time fQI' the trUth to cpme to lightand for justice to pre:v·ail~ !vii
    Long's conViction should be v~ as a,~ o:fla,w. · .




            Mr..Long is entitled to an     am~t of his Judgment             and Cornrrritme.rrt to provide for a

    ~c tcrm.ofim~G!t ()!eighty.·~· uriderN.C. ~~ 14---2. AJt~vely,                                       this Court
    shoBJd e1:1ter a separate otder sP¢omea!l!Y ~the Nort!t !:arolina D~~nt qf Co~tiQrl to




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•   consider hislife sentence ~.:as a sentence of'impriso.nment t(lr a term oi80years in the Statetsprisoni• in
    cal(;Ula;t:ing aprojected rel~ed~tefor 1\fr~ Lo~g. s:ucJ_lc~tcl.llationto jnclude:anY and all oreditfor good
    time. gain func,. and meriftime which he.may have ac~ as well as<pretrlal credit granted by the trial

    _judge.
                            .f;t-
        This the       ~ 1. _.day of August, 2008.

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